: Case 2:05-cr-80598-GER ECF No.1 filed 06/30/05 Pagel nes BS GK Zz)
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1:99CR00131-01 9
TRANSFER OF JURISDICTION : o

NAME AND ADDRESS OF PROBATIONER/SUPER VISED RELEASEE WW DINY tral

u 0

e060 he S AME OF SENTENCING JUDUE

Dearborn Heights, Michigan 48127 RICHARD J. ARCARA, Chief U.S. District Judge
’ ATES OF RUM TO

SUPERVISED RELEASE
04/08/05 4/07/08
OFFENSE

 

 

 

Trafficking in Contraband Cigarettes in violation of 18 U.S.C. §2342(a) & §2344(a)

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE _ WESTERN _ pistrict or NEW YORK

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or

supervised releasee named above be transferred with the records of this Court to the United States District
Court for the _ EASTERN DISTRICT OF MICHIGAN __ upon that Court's order of acceptance of

jurisdiction. This Court hereby expressly consents that the period of probation or supervised release may be changed by
the District Court to which this transfer is made without further inquiry of this court.*

DAT. aS UNITED SEqreS DISTRICT JUDGE

This sentence may be deleted in the discretion of the transferring Court.

 

 

PART 2 - ORDER ACCEPTING JURISDICTION
LINITED STATES DISTRICT COURT FOR THE

 

EASTERN _ pistrictor MICHIGAN

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
accepted and assumed by this Court from and after the entry of this order.

S

JUN 15 2005

EFFECTIVE DATE AL ~ / / UNITED STATES DISTRICT JUDGE

  

 

 

 

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:05-cr- -GER ECF No.1 filed 06/30/05 PagelD.2 Page
Case 2:05-cr-80598-GE BENGE oe ed 06/3¢

UNITED STATES DISTRICT COURT
WESTERN DtsTRICT OF NEW YorK
304 U.S. CourtTHouse
68 Court STREET
BUFFALO, NEW YorK Pe202-34908
(FISH) S5)l-42 1 |

6/27/05

United States District court 0 a 3 Q oD 9 na

Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W. Lafayette Blvd

Detroit, MI 48226

RE: Transfer of Jurisdiction 0
99-cr-131 (14) JUN 3 0 2005

‘S OFFICE, BETROIT-PSG
mes DISTRICT COURT

Dear Clerk:

Enclosed are certified copics of the Transfer of J urisdiction of Fadi Haydous along with the

docket shect, Indictment and/or Information, Plea Agreement and any other pertinent documents
from our file.

Please retum the enclosed copy of our letter acknowlcdging your receipt of the same.
Very truly yours,
RODNEY C. EARLY, Clerk

By: $/ Jane D. Kellogg
Deputy Clerk

Enclosures

 
  
  

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U.S. DISTRICT COURT
WESTERN DISTRICT OF NEW YORK [LIVE] (Buffalo)
CRIMINAL DOCKET FOR CASE #: ay OS Ri

Internal Use Only ™ 80 5 9 S

Case title: USA v. Kaid, et al Date Filed: 10/04/1999

Gots tami RIED

Assigned to: Hon. Richard J. Areara

Referred to: Hon. Leslic G. Foschio JUN 30 2005
CLERK'S OFFICE, peTagiy.p

Defendant U.S. DISTRICT COURT 6
Fadi Haydous (14) Tepresented by Seymour Berger
TERMINATED: 03/29/2004 24901 Northwestern Highway
also known as Suite 53
Freddy Southfield, MI 48075
TERMINATED: 03/29/2004 (248) 353-5131

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Thomas J. Eoannou
Eoannou, Lana & D'Amico
484 Delaware Avenue

ATTEST: A TRUE-COPY Buffalo, NY 14202
US. DISTRICT COURT. WONY 716885-2889
RODNEY ©. EARLY, f Fax: 716-883-2163

- om '  thomascoannou@lawoffice4&4.com
rn LEAD ATTORNEY
. ATTORNEY TO BE NOTICED
“ Designation: Retained

Pending Counts Disposition

Deft is sentenced to the cuslody of the
Bureau of Prisons for 27 months
incarceration, Upon release, Deft to be
placed on supervised release for 3 years
with special conditions. Deft ordered to
make restiution inthe amount of
$322,500.00 to be paid joint and several.
No fine. Deft to pay $100.00 special
asscssment. Deft remanded. Court grants
Govt motion to dismiss counts f and 101

18:2342.F TRAFFICKING IN
CONTRABAND CIGARETTES
(98)

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of the indictment.

Highest Offense Level ( Opening)
Felony

Terminated Counts Disposition

18:1956-7477.F LAUNDERING OF

MONETARY INSTRUMENTS Dismissed.
(1)

21:853.F CRIMINAL FORFEITURES
(101)

Highest Offense Level (Terminated)

Felony

Dismissed.

Complaints Disposition
None

Plaintiff

USA represented by Anthony M. Bruce
U.S. Attorney's Office
Federal Centre
138 Delaware Avenue
Buffalo, NY 14202
716-843-5886
Fax: 716-551-3052
Email: anthony.m.bruce@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Allison P. Gioia

U.S. Attorney's Office

Federal Centre

138 Delaware Avenuc

Buffalo, NY 14202
716-843-5851

Fax: 716-551-3052

Email: allison. gioia@usdoj.goy

William J. Hochul, Jr.

U.S. Attomey’'s Office
Federal Centre

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138 Delaware Avenuc

Buffalo, NY 14202

716-843-5887

Fax: 716-551-3052

Email: william hochul@usdoj.gov
TERMINATED: 05/14/2004

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Filed # Docket Text

09/22/1999 1 |} SEALED INDICTMENT as to all defendants (IMD) Modified on
09/17/2001] (Entered: 10/07/1 999)

09/22/1999 Count(s) added Fadi Haydous (14) count(s) 98, 101 (IMD) (Entered:
10/07/1999)

09/22/1999 ** Added Government Attorney William J. Hochul Jr. as to Mohamed Kaid,
Ali Kaid, Page Martin, Mohamed Abuhamra, Ali Abuhaimra, Khaled
Humaisan, Abdo Alawi, Saleh Abdullah, Ali Abuhamra Jr., Hamada Awedi,
Nader Hamdan, Hussain Berro, Harris Barnett, Fadi Haydous, Mohamed
Almozahmi, Richard Emke, Kirk Snyder, A.D. Bedell Company, Shoaib
Kaatd Alhajaji, Ali Al-Fiasaly, Ahmed Nasir, Ahmed Aishubili, Aref
Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah, Mohamed Abdullah,
Mohamed Odefa, Rinzy Abdullah, Nagib Aziz, Khaled Aljeman, Aziz
(IMD) (Entered: 10/12/I 999)

09/24/1999 Arrest WARRANT issued as to Fadi Haydous (IMD) (Entered: 10/07/ 1999)

09/29/1999 2 | SEALED DOCUMENT as to all defendants (TMD) (Entered: 10/08/ 1999)

09/29/1999 3 | SEALED DOCUMENT as to all defendants (JMD) (Entered: 10/08/1 999)

09/30/1999 4/ SEALED DOCUMENT as lo all defendants (JMD) (Entered: 10/08/ 1999)

09/30/1999 5 | SEALED DOCUMENT as to all! defendants (IMD) (Entered: 10/08/1999)

09/30/1999 6) SEALED DOCUMENT as to all defendants (IMD) (Entered: 10/08/1999)

09/30/1999 7| SEALED DOCUMENT as to all defendants (JMD) (Entered: 10/08/ 1999)

09/30/1999 8 | SEALED DOCUMENT as to all defendants (TMD) (Entered: 10/08/ 1999)

09/30/1999 9] SEALED DOCUMENT as to all defendants (IMD) (Entered: 10/08/1999)

09/30/1999 10) SEALED DOCUMENT as to all defendants (TMD) (Entered: 10/08/1 999)

10/04/1999 Indictment unsealed as to Mohamed Kaid, Ali Kaid, Page Martin, Mohamed
Abuhamra, Ali Abuhamra, Khaled Humaisan, Abdo Alawi, Salch Abdullah,
Ali Abuhamra Jr, Hamada Awedi, Nader Hamdan, Hussain Berro, Harris
Barnett, Fadi Haydous, Mohamed Almozahmi, Richard Emke, Kirk Snyder,
A.D, Bedell Company, Shoaib Kaaid Alhajaji, Ali Al-Fiasaly, Ahmed Nasir,
Ahmed Alshubili, Aref Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah,
Mohamed Abdullah, Mohamed Odefa, Rmzy Abdullah, Nagib Aziz, Khaled

L Aljeman, Aziz (IMD) (Entered: 10/07/ 1999) |

 

 

 

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**Procedural Interval start P2 as to Mohamed Kaid (1) count(s) 1, 4, 5, 8,
11, 12, 19, 23, 24, 30, 32, 37, 40s-51s, 100s, 101s, 102s, Ali Kaid (2)
count(s) 1,2, 3,7, 9, 10, 11, 16, 17, 18, 19, 20, 23, 27, 28, 30, 31, 32, 33, 34,
36, 39, 40, 41, 42s-46s, 488-518, 53s-54s, 688-70s, 728-738, 79s-80s, 82s,
84s, 938-978, 100s, 101s, 102s, Page Martin (3) count(s) 1, 2, 3, 4, 5, 6, 7, 8,
9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29,
30, 31, 32, 34, 35, 36, 37, 38, 39, 40, 41, 428-993, 100s, 101s, 102s,
Mohamed Abuhamra (4) count(s) 1, 11, 22, 24, 26, 578, 101s, Ali Abuhamra
(5) count(s) 1, 41, 45s, 57s, 101s, Khaled Humaisan (6) count(s) 1, 82s,
101s, Abdo Alawi (7) count(s) 1, 2, 9, 1 1, 12, 21, 23, 42s, 448-455, 48s,
41s-53s, 70s, 73s, 80s, 101s, Saleh Abdullah (8) count(s) 1, 3, 7, 14, 18, 21,
23, 53s, 73s, 79s-80s, 89s-90s, 94s, 101s, Ali Abuhamra (9) count(s) 1, 12,
38, 59s-61s, 633-65, 67s, 71s, 75s-76s, 78s, 101s, Hamada Awedi (10)
count(s) 1, 55s, 101s, Nader Hamdan (11) count(s) 1, 55s, 101s, Hussain
Berro (12) count(s) 1, 58s, 101s, Harris Bamett (13) count(s) 1, 58s, 101s,
Fadi Haydous (14) count(s) 1, 98s, 101s, Mohamed Almozahmi (15}
count(s) 1, 29, 31, 35, 44s, 47s, 308-31s, 53s, 101s, Richard Emke (16)
count(s) 1, 100s, 101s, 102s, Kirk Snyder (17) count(s) 1, 22, 29, 30, 31, 32,
36, 41, 42s, 45s, 53s, 56s-97s, 100s, 101s, 102s, A.D. Bedell Company (18)
count(s) 1, 2, 3, 4, 5, 6s, 7, 8,9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
22, 23, 24, 25, 26, 27, 28, 29, 30. 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41,
Shoaib Kaaid Alhajaji (19) count(s) 1, 6, 7, 10, 12, 13, 15, 17, 21, 22, 24, 26,
37, 40, 43s, 101s, Ali Al-Fiasaly (20) count(s) 1, 12, 45s, 60s-63s, 67s, 768,
788, 81s, 83s-84s, 86s, 915, 101s, Ahmed Nasir (21) count(s) 1, 8, 19, 31,
32, 35, 568, 648-6455, 67, 101s, Ahmed Alshubili (22) count(s) 1, 8, 11, 37,
21s, 64s, 78s, 81s, 83s, 865, 10] 8, Arcf Ahmed (23) count(s) 1, 82s, 90s,
938-958, 97s, 101s, Menal Mikha (24) count(s) 1, 768-78s, 97s, 99s, 101s,
Sam Daniel (25) count(s) 1, 76s-78s, 99s, 101s, Nabil Abdullah (26)
count(s) 1, 668, 748, 79s, 83s, 87s, 89s, 101s, Mohamed Abdullah (27)
count(s) 1,3, 17, 43s, 66s, 748, 798, 83s, 85s, 88s, 95s, 101s, Mohamed
Odefa (28) count(s) 1, 7, 16, 21, 25, 29, 43s, 533-545, 68s, 94s, 101s, Rmzy
Abdullah (29) count(s) 1, 9, 45s, 51s, 928, 94s, 96s, 101s, Nagib Aziz (30)
count(s) 1, 29, 66s, 84s, 101s, Khaled Aljeman (31) count(s) 1, 87s, 101 5,
Aziz (32) count(s) 1, 22s, 101s (former empl) (Entered: 10/07/1 999}

 

10/04/1999

**JS2 Opening Card for Mohamed Kai d, Ali Kaid, Page Martin, Mohamed
Abuhamra, Ali Abuhamra, Khaled Humaisan, Abdo Alawi, Saleh Abdullah,
Ah Abuhamra Jr., Hamada Awedi, Nader Hamdan, Hussain Berro, Harris
Bamett, Fadi Haydous, Mohamed Almozahmi, Richard Emke, Kirk Snyder,
A.D. Bedell Company, Shoaib Kaaid Alhajaji, Ali Al-Fiasaly, Ahmed Nasir,
Abmed Alshubili, Aref Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah,
Mohamed Abdullah, Mohamed Odefa, Rmzy Abdullah, Nagib Aziz, Khaled
Aljeman, Aziz (former empl) (Entered: 10/07/ 1999)

 

10/08/1999

22

Rule 40 Documents as to Fadi Haydous received from Eastern District of
Michigan (IMD) (Entered: 10/08/1 999)

 

10/08/1999

 

27

 

 

ORDER REFERRING CASE to USM] Leslie G. Foschio as to all
defendants for all pretrial matters pursuant to 28 USC 636(b)(1)(A) and

 

 

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thereafter to file a report and recommendation, ( Signed by USDJ Richard J.
Arcara ) Notice and copy to Leonard F. Walentynowicz, Alan D. Goldstein,
William J. Hochul Jr. (IMD) (Entered: 10/12/ 1999)

 

 

 

 

 

 

10/08/1999 CASE REFERRED to USMI Leslie G. Foschio (JMD) (Entered:
10/12/1999)

10/12/1999 30) LIMITED appearance for Fadi Haydous by Scymour Berger (IMD)
(Entered: 10/21/1999)

10/12/1999 *“ Added for Fadi Haydous Attorney Seymour Berger (IMD) (Entered:
10/26/1999)

10/12/1999 Appearance as to Fadi Haydous (IMD) (Entered: 11/01/1999)

10/12/1999 Arraignment as to Fadi aydous held, attorney Seymour Berger retained

from Detroit MI, limited appearance filed with Court, Court directs
defendant to advisc Court prior io 11/9/99 of attorney status, Court waived
$35. pro hac vice if appearance today only, if defendant remains in case,
Court directs payment of said fee, $5,000 signature bond plus conditions.
LGF (IMD) (Entered: 11/01/1999)

10/12/1999 **Location LR as to Fadi Haydous (IMD) (Entered: 11/01/ 1999}

 

 

10/12/1999 Deadline updated as to Fadi Haydous, to Continue in Interests of Justice
Time Excluded from 10/12/99 to 11/9/99 , set Status Conference for 2:00
11/9/99 (IMD) (Entered: 11/01/1999)

10/14/1999 39 | Appearance BOND entered by adi Haydous in Amount $ 5,000. (TMT))

 

 

(Entered: 10/21/1999)
10/15/1999 46 | ORDER Setting Conditions of Release as to Fadi Haydous Bond set to

$5,000. Signature for Fadi Haydous. ( Signed by USM] Leslie G. Foschio }
(JMD) (Entered: 10/21/1999)

 

 

10/28/1999 68 | NOTICE of LIS PENDENS by USA as to Page Martin re: 5003 Whig Street,
Little Valley, NY (IMD) Modified on 10/28/1999 (Entered: 10/28/1999)
10/28/1999 69) NOTICE of LIS PENDENS by USA as to Kirk Snyder re: 418 Court Street

Little Valley NY and New York State Route 242 Little Valley NY (JMD)
(Entered: 10/28/1999)

 

 

10/28/1999 78 | LETTER to Magistrate Judge Foschio from Assistant US Attorney William
Hochul dated 10/26/99 re: Mohamed Abuhamra (JMD) (Entered:
11/03/1999}

10/28/1999 **Terminated attomey Leonard F. Walentynowicz, for Nagib Aziz, Rmzy

Abdullah, Abdullah, Aref Ahmed, Saleh Abdullah, Ali Abuhamra, and
Mohamed Abuhamra (JMD) (Entered: 11/22/1999)

10/29/1999 70 | NOTICE of LIS PENDENS by USA as to Mohamed Abuhambra re: 24
Palm Street , Lackawanna, NY (IMT) (Entered: 10/29/ 1999)

 

 

 

 

 

 

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71

NOTICE of LIS PENDENS by USA re: Mohamed Kaid and Ali Abuhambra
re: 1522 Genesee Sireet, Buffalo, NY (IMD) (Entered: 10/29/1999)

 

10/29/1999

72

NOTICE of LIS PENDENS by USA as to Mohamed Abuhambra re: 282
Moselle Street , Buffalo, NY (IMD) (Entered: 10/29/1999)

 

11/09/1999

Status conference as to all defendants , discovery report from government,
counsel should see AUSA, AUSA paralegal or case agents, no scarch
warrants in this case, defendants counscl Walentynowicz requests indexing
of evidence, attorney Greenman requests list of unindicted co-conspirators,
government will begin with understanding that same is without prejudice,
government advises attorneys for defendant to keep in mind pleas are open
for discussion but will close at some point, case continued to 1/13/00 at 2:00
pm, time excluded. LGF (JMD) (Entered: 11/19/1999)

 

11/09/1999

Deadline updated as to all defendants set Status Conference for 2:00 pm on
1/13/00 , to Continue in Interests of Justice Time Excluded from 11/9/99 to
1/13/00 (IMD) (Entered: 11/19/1999)

 

11/23/1999

Status/discovery conference sct for 2:00 pm on 3/9/00 (JMD) (Entered:
01/28/2000)

 

11/23/1999

Deadline updated as to Mohamed Kaid, Ali Kaid, Page Martin, Mohamed
Abuhamra, Ali Abuhamra, Khaled Humaisan, Abdo Alawi, Saleh Abdullah,
Al Abuhamra Jr., Hamada Awedi, Nader Hamdan, Hussain Berro, Harms
Barnett, Fadi Haydous, Mohamed Almozahmi, Richard Emke, Kirk Snyder,
A.D. Bedell Company, Shoaib Kaaid Alhajaji, Ali Al-Fiasaly, Ahmed Nasir,
Ahmed Alshubili, Arcf Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah,
Mohamed Abdullah, Mohamed Odefa, Rmzy Abdullah, Nagib Aziz, Khaled
Aleman, Aziz, to Continue in Interests of Justice Time Excluded from
11/23/99 to 3/9/00 MD) (Entered: 01/28/2000)

 

11/24/1999

92

Arrest WARRANT Returned Executed as to Fadi Haydous on 10/4/99
(FMD) (Entered: 11/24/1999)

 

11/29/1999

**Tenninated deadlincs as to all defendants (JMD) (Entered: 11/29/1999)

 

12/20/1999

98

LETTER to Magistrate Judge Foschio from Herbert L. Greenman counsel
for defendant Saleh Abdallah dated 12/15/99 MD) (Entered: 12/20/1999)

 

12/20/1999

99

LETTER to Magistrate Judge Foschio from Barry Nelson Covert counsel for
defendant Aref Ahmed dated 12/16/99 (JMD) (Entered: 12/20/1999)

 

12/21/1999

102

LETTER to all counsel from assistant US Attomey William Hochul dated
12/17/99 (IMD) (Entered: 12/22/1999)

 

 

01/13/2000

 

 

Status conference, attorney Walentynowicz adviscs Court that defendant

Mohamed Abuhamra will be seeking to retain counsel, attomey appearance
set for 2/10/00 at 10:00 am, AUSA reports he has met with most of defense
attomeys, defense counsel for corporation and its cmployees have requested
reproduction of voluminous number of discovery items, which will take 3-4
weeks, government is prepared to engage in plea discussions, once motions

 

 

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are filed, governments discretion will decline as io pleas; curcio hearing is
set for 1/27/00 at 2:00 pm, attorney Daniels as spokesperson for corporation
and its employees, reports counsel have spend several hours revicwing
discovery, reiterates discovery requests, counsel request 2 months
continuance before putting scheduling order on file, no objections by
government, Detroit attormeys Michael Rataj and Eugene Hunt, for
defendants Hussain Berro and Harns Barnett make oral pro hac vice motion
granted without objections, Court directs attorneys to pay fee, attorneys Rataj
and Hunt are satisfied they have received all discovery and agree to proposal
for continuance, altorncys request to be excused. from curcio hearings,
granted, bail continued, discovery conference sct for 3/9/00 at 2:00pm , time
excluded. LGF (JMD)} Modified on 02/01/2000 (Entered: 01/28/2000)

 

02/07/2000

116

LETTER to Magistrate Judge Foschio from Fern Adelstein counsel for
defendant Ali Abuhamra dated 2/4/00 (IMD) (Entered: 02/08/2000)

 

02/09/2000

PRO IJAC VICE fee paid by attorney L. Eugene Hunt, Jr., Esq. (IMD)
(Fntered: 02/09/2000)

 

02/09/2000

PRO HAC VICE tce paid by attorney Michael Rataj counsel for Hussein
Berro. (JMD) (Entered: 02/16/2000)

 

03/03/2000

** Added for Fadi Haydous Attorney Thomas Eoannou (JMD) (Entered:
03/03/2000)

 

03/09/2000

120

SCHEDULING ORDER: Discovery deadline 45/12/00 ; pretrial Motions due
6/12/00 responses due ; Oral Argument deadline 9:00 am on 7/18/00 (
Signed by USMI Leslie G. Foschio ) Notice and copy of order sent to
Michael G. O'Rourke, Leonard F. Walentynowicz, John Pien, E. Carey
Cantwell, Anthony J. Lana, Michael J. Violante, Angelo Musitano, Paul
Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstein,
Terrence Connors, Vincent E. Doyle JIT, James P. Harrington, Patrick J.
Brown, John J. Carney I, Thomas Eoannou, Seymour Berger, L. Eugene
Hunt Jr., Michael A. Rataj, Herbert L. Greenman, J. Glenn Davis, David
Gerald Jay, Joel Danicls, Glenn E. Murray, Wilham J. Hochul Jr. JMD)
(Entered: 03/10/2000)

 

3/09/2000

Status conference, extensive discovery discussions, scheduling order filed,
defendants Martin, Emke, Snyder and the corporation will be filing joint
motions, case continued to 7/18/00 at 9:00 am for oral argument, time
excluded. LGF (JMD) (Entered: 03/16/2000)

 

03/09/2000

Deadline updated to Continue in Interests of Justice Time Excluded from
3/9/00 to 7/18/00 , set Status Conference for 9:00 7/18/00 (IMD) (Entered:
03/16/2000)

 

 

03/24/2000

121

 

 

AFFIDAVIT by Sylvia Johnson for the government in support of request for
Order to be issued revising the Court's original restraining order dated
9/28/99 (IMT)) (Entered: 03/24/2000)

 

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122

ORDER : granting the governments [121-1] requcst to modify restraining
order. ( Signed by USDJ Richard J, Arcara ) Notice and copy of order sent to
Michael G. O'Rourke, Leonard F. Walentynowicz, John Pieri, E. Carey
Cantwell, Anthony J. Lana, Michael J. Violante, Angelo Musitano, Paul
Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstein,
Terrence Connors, Vinecnt E. Doyle TI, James P, Harrington, Patrick J.
Brown, John J. Camey II, Thomas Eoannou, Seymour Berger, L. Eugene
Hunt Jr., Michael A. Rataj, Herbert L. Greenman, J. Glenn Davis, David
Gerald Jay, William J. Hochul Jr. (IMD) (Entered: 03/27/2000)

 

03/24/2000

123

LETTER to Magistrate Judge Foschio from Joel Daniels counsel for Page
Martin dated 3/22/00 (JMD) (Entered: 03/27/2000)

 

03/24/2000

124

LETTER to Magistrate Judge Foschio from Patrick Brown counsel for
Richard Emke dated 3/23/00. (IMD) (Entered: 03/27/2000)

 

03/27/2000

125

LETTER to Magistrate Judge Foschio from James Harrington counsel for
Kirk Snyder dated 3/24/00 (IMD) (Entered: 03/27/2000)

 

03/27/2000

126

LETTER to Magistrate Judge Foschio from Terrence Connors counsel for A.
D. Bedell dated 2/29/00 (JMD) (Entered: 03/27/2000)

 

04/14/2000

136

RESPONSE by USA in opposition to [133-1] motion to Amend/Modify
Restraining Order dated 9/28/99 by A.D. Bedell Company, Martin Page
(JMD) (Entered: 04/14/2000)

 

05/31/2000

142

ORDER revising the Court's original restraining order dated 9/28/99 {
Signed by USD) Richard J. Arcara ) Notice and copy of order sent to
Michael G. O'Rourke, Leonard F. Walentynowioz, John Pien, E. Carey
Cantwell, Anthony J. Lana, Michael J. Violante, Angelo Musitano, Paul
Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstein, Mark
R. Uba, Terrence Connors, Jarnes P. Harmnngton, J. Glenn Davis, David
Gerald Jay, Joel Daniels, Glenn E. Murray, William J. Hochul Jr. (IMD)
(Entered: 06/06/2000)

 

06/05/2000

144

SCHEDULING ORDER pretrial motions are due 7/10/00 ; Responses to
Motions due 8/7/00 ; Oral Argument deadline 9:00 am on 9/14/00 ( Signed
by USMJ Leslie G. Foschio ) Notice and copy of order sent to Michael G.
O'Rourke, Leonard I’. Walentynowicz, John Pien, E. Carey Cantwell,
Anthony J. Lana, Michael J. Violante, Angclo Musitano, Paul Cambria,
Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstein, Mark R. Uba,
Terrence Connors, James P. Harrington, Patrick J. Brown, John J. Carney III,
Thomas Eoannou, Seymour Berger, L. Eugene Hunt Jr., Michael A. Rataj,
Herbert L. Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glerm
E. Murray, William J. Hochul Jr. (IMD) (Entered: 06/07/2000)

 

06/06/2000

143

AFFIDAVIT by Sylvia Johnson for USA in support of request for Order .
(IMD) (Entered: 06/06/2000)

 

 

06/07/2000

150

 

 

ORDER as to Fadi Haydous, granting defendants request for a 30 day
adjournment rc: defense motions ( Signed by USMJ Leslie G. oschio )

 

 

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Notice and copy of order scnt to Thomas Eoannon, William J. Hochul Jr.
(IMD) (Entered: 06/09/2000)

06/29/2000 154 | MOTION by Fadi Haydous for Discovery and Inspection , for Discovery of
cxpert witnesses , for Bill of Particulars , for Disclosure pursuant to rule
404(b) , for Disclosure pursuant to Brady , for Disclosure pursuant to Jencks
, lo Compel evidence the government Lends 1o offer at tnal pursuant to
Rule 807 , to Compel preservation of evidence papers etc. , for Joinder with
other discovery motions filed , for Lcave to File other and further motions
with affidavit in support (JMD} (Entered: 06/29/2000)

 

 

07/17/2000 168 | LETTER dated 7/10/00 to Magistrate Judge Foschio from Michael Violante
counsel for defendant Sam Daniels joining in motions of co-defendants.
(JMD) (Entered: 07/17/2000)

08/09/2000 172 | RESPONSE by USA as to Mohamed Kaid, et al. and opposition to
defendants omnibus motions (JMD) (Entered: 08/09/2000)

 

 

 

08/14/2000 177 | RESPONSE by USA to the Court's [171-1] Order (JMD) (Entered:
08/14/2000}
08/30/2000 ORAL ARGUMENT te: omnibus motions, motions by Mohamed Kaid to

extent time to file pretrial motions, to modify conditions of rclcasc and for
financial assistance with affirmation in support, and response by eovernment
, altomey assignment heanny/oral argument/oral order, defendant advised
Court he is not able to pay for expenses to formulate/prepare filing of
motions and continue attorney retainment, defendant request assigned
counsel, defendant sworn, cxamined determined eligtble, Leonard
Walentynowicz assigned pursuant to Article XU.B of the new CJA plan
(4/3/98) the Court finds there are special circumstances and in the interest of
justice and judicial economy and continuity of counsel and other compelling
circumstances discussed, Court approves $2,000 for copying fees/expenses,
CJA 20 and 24 order forms to follow, attorncy Walentynowicz given
application for admission to CJA Panel and Panel Attorney Data forms to
complete and to tum mto Financial Administator , bail issue /oral order,
defendant requests eliminate electronic monitonng government opposes,
motion granted, bail modified to eliminate electronic moritoring all other
conditions remain in effect, amended scheduling order Mohamed Kaid only,
defendant motions due 10/11/00 government response due 10/25/00,
amended oral argument set for 11/16/00 a 1 2:00 pm, time excluded, AUSA
alerts defense that government has commenced sending invoices for coded
digitizing funds allocated for same, in preparation for trial, documents for
copying relating to Mohamed Kaid have been set aside. LGF (IMD)
(Entered: 08/31/2000)

 

 

 

 

 

 

 

08/31/2000 **Terminated deadlines (JMD) (Entcred: 08/31/2000)

09/05/2000 NOTICE (LGF) Evidentiary Hearing set for 2:00 pm on 10/12/00 MD)
(Entered: 09/06/2000)

10/06/2000 ** Terminated deadhnes (IMD) (Entered: 10/06/2000)

 

9 of 25 6/27/2005 4:54 PM
 

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Minute entry/oral argument (oral written letter request to adjoum) attorney
Connors requests adjournment and indicates he has proposed adjournment to
AUSA Hochul who has no objection, time excluded due to pending motions
oral argument rescheduled for 9:30 am on 12/4/00 LGF (TMD) (Entered:
11/20/2000)

 

 

11/29/2000 Tele-confcrence call/no appearances, call from attorney Barry Covert and
AUSA Hochul re: pending pretrial motions, oral argument adjourned to 2:00
pm on 12/19/00 . LGF (MD) (Entered: 12/07/2000)

12/07/2000 **Terminated deadlines (IMD) (Entered: 12/07/2000)

 

 

12/19/2000 Minute entry oral argument/oral motion to adjourn attomey Joel Daniels
involved im lengthy environmental trial before RJA, requests to adjourn oral
argument with understanding defense will make necessary calls to all parties,
letter to follow, request granted. LGF (JMD) (Entered: 12/26/2000)

 

12/26/2000 ** Terminated deadlines (JMD)} (Entered: 12/26/2000}

 

12/26/2000 189 | ORDER Motion Hearing, sct for 2:00 1/4/01 as to: Mohamed Kaid, re:
(186-1), (185-1), (152-1), (152-2), (152-3); Page Martin, re: (162-1),
(162-2), (162-3), (162-4), (162-5), (162-6), (162-7), (162-8), (162-9),
(162-10); Saleh Abdullah, re: (160-1), (160-2), (160-3), (160-4), (160-5),
(160-6), (160-7), (160-8), (160-9), (160-10), (160-11), (160-12), (160-13),
(160-14); Fadi Haydous, re: (154-1), (154-2), (154-3), (154-4), (154-5),
(154-6), (154-7), (154-8), (154-9), (154-10); Mohamed Almozahmi, re:
(151-1), (151-2), (151-3), (151-4), (151-5), (151-6), (151-7), (151-8);
Richard Emke, re: (162-1), (162-2), (162-3), (162-4), (162-5), (162-6),
(162-7), (162-8), (162-9), (162-10); Kirk Snyder, re: (162-1), (162-2),
(162-3), (162-4), (162-5), (162-6), (162-7), (162-8), (162-9), (162-10); A.D.
Bedell Company, re: (162-1), (162-2), (162-3), (162-4), (162-5), (162-6),
(162-7), (162-8), (162-9), (162-10); Ahmed Nasir, re: (161-1), (161-2),
(161-3), (161-4), (161-5), (140-1), (140-2), (140-3), (140-4), (140-5),
(140-6), (140-7), (140-8), (140-9), (140-10); Aref Ahmed, re: (164-1),
(164-2), (164-3), (164-4), (164-5), (164-6), (164-7), (164-8), (164-9),
(164-10), (164-11), (164-12), (164-13); Menal Mikha, re: (165-1), (165-2),
(165-3), (165-4), (165-5), (165-6), (165-7), (165-8), (165-9), (165-10),
(165-11), (165-12), (165-13), (165-14), (165-15); Mohamed Abdullah, re:
(137-1), (157-2), (157-3), (157-4), (157-5), (157-6), (157-7), (157-8),
(157-9), (157-10), (157-11); Rmzy Abdullah, re: (159-1) ( Signed by USMJ
Leslic G. Foschio ) Notice and copy of order sent to all counsel of record
(JMD) (Entered: 12/27/2000)

 

 

 

01/04/2001 Minute entry/Oral Argument matter continued to 9:00 am on 1/12/01 LGF
(JMD) (Entered: 01/09/2001)

01/09/2001 **Terminated deadlines (JMD) (Entered: 01/09/2001)

01/12/2001 **Terminated deadlines (IMD) (Entered: 01/12/2001)

 

 

 

 

 

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192 | ORAL ARGUMENT written supplemental papers due 1/31/01, matter will
not be considered under submission, until 1/31/01 deadline has passed. LGF
(TMD) Modified on 01/29/2001 (Entered: 01/16/2001)

 

01/24/2001 196 | Plca Agreement as to Fadi Haydous (JMD) (Entered: 01/25/2001)

 

01/24/2001 212 | PLEA of Guilty; Fadi Haydous (14) count(s} 98 Terminated motions Court
accepts plea. Sentencing sct for 5/30/01 at 9:00am, defendant released on
bail. RTA (TMD) (Entered: 02/15/2001)

 

 

 

1/24/2001 Status conference/re: sentencmg as to Fadi Haydous sct at 9:00 5/30/01
(IMD) (Entered: 02/15/2001)

02/02/2001 206 | LETTER to Judge Foschio from AUSA Wilham Hochul dated 1/30/01
(JMD) Modified on 02/09/2001 (Entered: 02/03/2001)

02/28/2001 216| TRANSCRIPT of oral argument held before Magistrate Judge Foschio filed

in case as to Mohamed Kaid et al., for dates of 1/4/01 pages 1-122 (IMD)
(Entered: 02/28/2001)

03/02/2001 MOTION by USA as to Mohamed Kaid et al., for speedy trial act
determination (TMD) (Entered: 03/05/2001)

 

 

03/05/2001 217| TRANSCRIPT of motion hearing held before Magistrate Judge Foschio
filed in casc as to Mohamed Kaid et al., for dates of 1/12/01 pages 1-150.
(JMD) (Entered: 03/05/2001)

3/09/2001 218 | ORDER as to Mohamed Kaid et al., defendants Response to the
governments motion for speedy trial act determination is due 3/19/01 (
Signed by USM] Leslic G. Foschio } Notice and copy of order sent to
Michael G. O'Rourke, Leonard F. Walentynowicz, John Pieri, E. Carcy
Cantwell, Anthony J. Lana, Michael J. Violante, Angelo Musitano, Paul
Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstcin, Mark
R. Uba, Terrence Connors, James P. Harrington, Patrick J. Brown, John J.
Camey III, Thomas Eoannou, Seymour Berger, L. Eugene Hunt Jr, Michael
A. Rataj, Herbert L. Greenman, J. Glenn Davis, David Gerald Jay, Joel
Daniels, Glenn E. Murray, William J. Hochul Jr. (TMD) (Entered:
03/09/2001}

 

 

03/23/2001 224 | RESPONSE by USA [202-1] support memorandum by Mohamed Kaid
(JMD) (Entered: 03/23/2001)

 

03/28/2001 225 | ORDER as to Mohamed Kaid et al granting the governments request for
permussion to file a single response to all supplemental defense pleadings (
Signed by USM] Leslic G. Foschio ) Notice and copy of order sent to
Michael G. O'Rourke, Leonard F. Walentynowicz, John Pieri, E. Carey
Cantwell, Anthony J. Lana, Michael J. Violante, Angelo Musilano, Paul
Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D. Goldstcin, Mark
R. Uba, Terrence Connors, James P. Harrington, Patrick J. Brown, John J.
Carney IH, Thomas Eoannou, Seymour Berger, L. Eugene Hunt Jr., Michael
A. Rataj, Herbert T.. Greenman, J. Glenn Davis, David Gerald Jay, Joel
Daniels, Glenn E. Murray, Wiliam J. Hochul Jr. (IMD) (Entered:

 

 

 

 

 

 

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03/29/2001)

 

04/20/2001

“*Terminated deadlines (IMD) (Entcred: 04/20/2001)

 

04/23/2001

229

ORDER as to Mohamed Kaid, Ali Kaid, Page Martin, Mohamed Abuhamra,
Ali Abuhamra, Khaled Humaisan, Abdo Alawi, Saleh Abdullah, Ali
Abuhamra Jr., Hamada Awedi, Nader Hamdan, Hussain Betro, Harris
Barnett, Fadi Haydous, Mohamed Almozahmi, Richard Emke, Kirk Snyder,
A.D. Bedell Company, Shoaib Kaaid Alhajaji, Ai Al-Fiasaly, Ahmed Nasir,
Ahmed Alshubili, Arcf Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah,
Mohamed Abdullah, Mohamed Odcfa, Rmzy Abdullah, Nagib Aziz, Khaled
Aljeman, Aziz, Azzeaz Saleh, to exclude time Excludable type XT Started
on 4/23/01 Stopped on 5/23/01 for purposes of rendering a decision on
pending pretrial motions ( Signed by USMI Leslie G. Foschio ) Notice and
copy of order sent to Michael G. O'Rourke, Leonard F. Walentynowicz, John
Pieri, E. Carey Cantwell, Anthony J. Lana, Michael J, Violante, Angelo
Musitano, Paul Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D,
Goldstein, Mark R. Uba, Terrence Connors, James P. Harrington, Patrick J.
Brown, John J. Camey III, Thomas Eoannou, Seymour Berger, L. Eugene
Hunt Jr., Michael A. Rataj, Herbert L. Greenman, J. Glenn Davis, David
Gerald Jay, Joel Daniels, Glenn E. Murray, William J. Hochul Jr. (LLEW)
(Entered: 04/24/2001)

 

05/02/2001

231

ORDER as to Mohamed Kaid, et al., dismissing as mooi to governments
[230-1] motion to exclude time ( Signed by USMI Leslie G. Foschio )
Notice and copy of order sent to Michael G. O'Rourke, Leonard F.
Walentynowicz, John Pieri, E. Carey Cantwell, Anthony J. Lana, Michael J,
Violante, Angelo Musitano, Paul Cambria, Thomas D'Agostino, Mehmet K.
Okay, Alan 1, Goldstein, Mark R. Uba, Terrence Connors, James P.
Harrington, Patnck J. Brown, John J. Camey UL, Thomas Eoannou, Seymour
Berger, L. Eugene Hunt Jr., Michael A. Rataj, Herbert L. Greenman, J.
Glenn Davis, David Gerald Jay, Joel Daniels, Glenn E. Murray, William J,
Hochul Jr. (IMD) (Entered: 05/02/2001)

 

05/23/2001

233

MOTION by USA as to Mohamed Kaid et al., to exclude time (IMD)
(Entered: 05/23/2001)

 

05/30/2001

236

Minute entry as to Hussain Berro, Harris Barnett, Ali Al-Fiasaly, Fadi
Haydous, Nabil Abdullah :, Status Conference re: sentencing set for 9:00 am
on 2/22/02 RIA(JMD) Modified on 07/25/2001 (Entered: 06/04/2001)

 

 

06/01/2001

235

 

 

ORDER as to Mohamed Kaid, Ali Kaid, Page Martin, Mohamed Abuhamra,
Ali Abuhamra, Khaled Humaisan, Abdo Alawi, Saleh Abdullah, Ali
Abuhamra Jr., Hamada Awedi, Nader Hamdan, Hussain Berro, Harris
Bamett, Fadi Haydous, Mohamed Almozahmi, Richard Emkc, Kirk Snyder,
A.D, Bedell Company, Shoaib Kaaid Alhajaji, Ali Al-Fiasaly, Ahmed Nasir,
Ahmed Alshubili, Aref Ahmed, Menal Mikha, Sam Daniel, Nabil Abdullah,
Mohamed Abdullah, Mohamed Odcfa, Rmzy Abdullah, Nagib Aviz, Khaled
Aljeman, Aziz, Avzeaz Saleh granting [233-1] motion to exclude time
Excludable type Started on 5/23/01 Stopped on 6/22/01. (Signed by USMJ

 

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Hugh B. Scott) Notice and copy of order sent to Philip M. Marshall, Michael
G. O'Rourke, Leonard F. Walentynowicz, John Picn, E. Carey Cantwell,
Anthony J. Lana, Michael J. Violante, Angelo Musitano, Paul Cambna,
Thomas I)'Agostino, Mehmet K. Okay, Alan D. Goldstein, Mark R. Uba,
Terrence Connors, James P. Harrington, Patrick J. Brown, John J. Carney TIT,
Thomas Eoannou, Seymour Berecr, L. Eugene Hunt Jr., Michael A. Rataj,
Herbert L. Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glenn
E. Murray, William J. Hochul Jr. (DLC) (Entered: 06/01/2001)

 

 

06/22/2001 237 | MOTION by USA as to Mohamed Kaid, et al., to exclude time with
proposed speedy tnal order (IMD) (Entered: 06/22/2001)
06/25/2001 238 | ORDER as to Mohamed Kaid et al., granting [237-1] motion to exclude time

Excludable type XT Started on 6/22/01 Stopped on 7/22/01 as to Mohamed
Kaid (1) et al. (Signed by USM] Hugh B. Scott ) Notice and copy of order
sent to Philip M. Marshall, Michael G. O'Rourke, Leonard F.
Walentynowicz, John Patrick Pieri, E. Carey Cantwell, Anthony J. Lana,
Michael J. Violante, Angelo Musitano, Paul Cambna, Thomas D'Agostino,
Mehmet K. Okay, Alan D. Goldstein, Mark R. Uba, Terrence Connors,
James P. Harrington, Patrick J. Brown, John J. Carney I], Thomas Eoannou,
Scymour Berger, L. Eugene Hunt Jr., Michael A. Rataj, Herbert L.
Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glenn E.
Murray, William J. Hochul Jr. ((MD) (Entered: 06/27/2001)

 

 

07/20/2001 241 | MOTION by USA as to Mohamed Kaid, et al., for speedy trial exclusion
(IMD) (Entered: 07/20/2001)
07/20/2001 242 | ORDER as to Mohamed Kaid, ct al., granting the governments [241-1]

motion for speedy trial exclusion Time Excluded from 7/22/01 to 8/21/01 (
Signed by USM] Hugh B. Scott ) Notice and copy of order sent to Philip M.
Marshall, Michael G. O'Rourke, Leonard F. Walentynowicz, John Patrick
Pien, BE. Carey Cantwell, Anthony J. Lana, Michael J. Violante, Angelo
Musitano, Paul Cambria, Thomas D'Agostino, Mehmet K. Okay, Alan D.
Goldstein, Mark R. Uba, Terrence Connors, James P. Harrington, Patrick J.
Brown, John J. Camey III, Thomas Eoannou, Seymour Berger, L. Eugene
Hunt Jr, Michael A. Rataj, Herbert 1. Greenman, J. Glenn Davis, David
Gerald Jay, Jocl Danicls (JMD) (Entered: 07/23/2001)

 

09/14/2001 255 | MOTION by USA as to Mohamed Kaid, et al., for Leave to File omnibus
response to defendants objections to Magistrate Judge's report and
recommendation (IMD) (Entered: 09/14/2001}

09/24/2001 268 | Arrest WARRANT Returned Exccuted as to Fadi Haydous on 10/4/99
(JMD) (Entered: 09/24/2001}

 

 

11/05/2001 300 | ORDER as to Mohamed Kaid, et al., the Court will defer ruling on
objections to Magistrate Judge Scott's 8/20/01 Decision and Order until all
pretrial motions have been disposed of. Once all pretrial motions have been
decided, defendants shall have 10 days to file objections. The Court will then
issue a scheduling order fixing the time for the government lo respond and a
date for oral argument if necessary. ( Signed by USDJ Richard J. Arcara )

 

 

 

 

 

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Notice and copy of order sent to Michael G. O'Rourke, Leonard F.
Walentynowicz, John Patrick Pieri, Lawrence J. Desiderio, E. Carey
Cantwell, Anthony J. Lana, Michael J. Violante, Paul Cambria, Thomas
D'Agostino, Mehmet K. Okay, Alan D. Goldstein, Mark R. Uba, Terrence
Connors, James P. Harrington, Patrick J. Brown, John J. Camey I], Thomas
Eoannou, Seymour Berger, L. Eugene Hunt Jr., Michacl A. Rataj, Herbert L.
Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glenn E.
Murray, William J. Hochul Jr. (IMD) (Entered: 11/06/2001)

 

12/21/2001

331

MOTION by USA as to Fadi Haydous for bail revocation with affidavit in
support (JMD) (Entered: 12/21/2001)

 

01/07/2002

340

LETTER dated 1/3/02 to Magistrate Judge Foschio from Carl Dobozin re:

 

Q1/11/2002

representation of defendant Mohamed Odefa (IMD) (Entered: 01/09/2002)

NOTICE (RJA) return date on governments motion for bail revocalion set
for 12:30pm on 1/15/02 for Fadi Haydous (IMD) (Entered: 01/15/2002)

 

01/15/2002

362

Minute entry/rcturn date on governments motion for bail revocation as to
Fadi Haydous, argument held, Court schedules pretrial supervision bearing
for 1/16/02 at 4:30, defendant remanded to custody of US Marshal pending
hearing. Sentencing set for 4:30pm on 3/18/02. RJA (JMD) (Entered:
03/04/2002)

 

01/16/2002

363

Heanng on violation of pretrial supervision as to Fadi Haydous held.
Government and defendant have ncgotiated a modification of bail conditions
to include defendants weekly reporting to USPO in Detroit Michigan. Court
grants rcquest to withdraw motion. Court admonished defendant to adhere to
all conditions of pretrial supervision and to commit no further offenses.
Defendant sentence scheduled for 3/18/02 at 12:30. RJA (IMD) (Entered:
03/04/2002)

 

01/22/2002

347

AMENDED ORDER Sctting Conditions of Release as to Fadi Haydous
Bond reset to $5,000. Signature ( Signed by USDJ Richard J. Arcara )
(JMD) (Entered: 01/23/2002)

 

02/03/2002

LETTER to Magistrate Judge Foschto from Attomey David Jay re:
Mohamed Odefa dated 01/28/02 (DMS) (Entered: 02/07/2002)

 

02/14/2002

355

MOTION by USA as to Fadi Haydous to relieve the government of
obligations of plea agreement (JMD) (Entered: 02/14/2002)

 

02/14/2002

356

STATEMENT by USA as to Fadi Haydous With Respect to Sentencing
Factors. (JMD) (Entered: 02/14/2002)

 

02/28/2002

REPLY MEMORANDUM by Fadi Haydous in opposition to/to supplement
government [355-1] motion to be relieved of obligations of plca agreement
(IMD) (Entered: 03/01/2002)

 

 

03/14/2002

 

 

Certified and transmitted index to record on appeal to U.S. Court of
Appeals: [338-1] appeal by Ah Al-Fiasaly (SMD) (Entered: 03/14/2002)

 

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Minute cniry/Adjournment as to Fadi Haydous ad jjourned pending oral
argument on governments motion for relief from plea agreement obligations,
no appearances. RJA (JMD) (Entered: 04/02/2002)

 

03/26/2002

372

RESPONSE by USA to [370-1] submission to supplement the record of
suppression hearing by Ali Abuhamra Jr., Saleh Abdullah (JMD) (Entered:
03/27/2002)

 

(3/27/2002

NOTICE (RJA) as to Fadi Haydous, Motion Hearing set for 10:00am on
4/26/02 as to: Fadi Haydous, re: (355-1) governments motion to be relieved
from plea agreement (JMD) (Entered: 03/28/2002)

 

04/23/2002

MOTION by Fadi Haydous for three week adjournment of 4/26/2 scheduled
proceeding (JMD) (Entered: 04/23/2002)

 

04/24/2002

REPORT AND RECOMMENDATIONS of USMI Hugh B. Scott as to
Mohamed Kaid, ct al., recommending that defendants motions to disiniss be
denied and motions to suppress of defendants Emke, Saleh Abdullah, Ali
Abuhamra, Mohamed Abdulla and Mohamed Kaid should also be denied. ;
Motion no longer referred Objections due teu days from receipt. Notice and
copy to all counsel (IMD) (Entered: 04/24/2002)

 

04/26/2002

400

Minute entry as to Fadi Haydous, hearing on government motion for relief
from plea agreement obligations, adjourned to date to be determined by the
Court, no appearances, RJA (JMD) (Entered: 05/ 13/2002)

 

05/02/2002

393

ORDER as to Mohamed Kaid, et al., granting defendants [392-1], [389-1],
[387-1] and [382-1] motions for extension of time to object to Magistrate
Judge's report and recommendation and/or decision and order. Objections
shall be filed by 6/10/02 . ( Signed by USD] Richard J. Arcara ) Notice and
copy of order sent to Carl H. Dobozin, Matthew P. Pynn, Michael G.
O'Rourke, Leonard F. Walentynowicz, John Patrick Pieri, David R.
Addelman, E. Carey Cantwell, Anthony J. Lana, Michael! J. Violante, Paul
Cambria, Thomas D'Agostino, Alan D. Goldstein, Mark R. Uba, Terrence
Connors, James P. Harrington, Patrick J. Brown, John J. Carney UI, Thomas
Foannou, Seymour Berger, L.. Eugene Hunt Jr., Michael A. Rataj, Herbert L.
Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glenn E.
Murray, William J. Hochul Jr. (TMD) (Entered: 05/02/2002)

 

05/10/2002

398

ORDER as to Mohamed Kaid, et al. granting [395-1] motion to Extend
Time to file objections , granting [396-1] motion for Joinder in
co-defendants motion for extension of time to file objections to report and
recommendation and granting [394-1] motion to Extend Time to file
objections, any objections shall be filed by 6/10/2. This order shall apply to
all defendants, ( Signed by USDJ Richard J. Arcara ) Notice and copy of
order sent to all counsel (IMD) (Entered: 05/1 0/2002)

 

 

03/10/2002

399

 

 

ORDER as to Fadi Haydous, the hearing on the governments (355-1) motion
for relicf from the plea agreement is adjourned to 5/23/2 at 2:00pm. ( Signed
by USD] Richard J. Arcara ) Notice and copy of order seni to Thomas
Eoannou, Seymour Berger, William J, Hochul Jr. (IMD) (Entered:

 

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05/10/2002)

 

05/17/2002

401

 

MOTION by USA as to Fadi Haydous to Extend Time/Adjourn hearing on
governments motion to be relieved of obligations of plea agreement (JMD)
(Entered: 05/17/2002)

 

05/20/2002

402

ORDER as to Fadi Haydous granting [401-1] motion to Extend
Time/Adjourn hearing on governments motion to be relicved of obligations
of plea agreement. Motion Hearing set for 2:00 pm on 6/26/02 re: (355-1) (
Signed by USDJ Richard J. Arcara ) Notice and copy of order sent to
Thomas Eoannou, Seymour Berger, William J. Hochul Jr. (JMD) (Entered:
05/21/2002)

 

06/26/2002

424

Minute entry as to Fadi Haydous, hearing on government motion to be
relieved from plea agreement. Adoumed to date to be determined. RJA
(JMD) (Entered: 07/10/2002)

 

06/28/2002

42]

LETTER to Magistrate Judge Foschio from David Addelman counsel for
Mohamed Odela dated 6/27/2 Joining in all motions filed by co-defendants
(IMD) (Entered: 07/01/2002)

 

07/23/2002

NOTICE (RJA) oral argument on appeals from Magistrate's decision and
order sct for 9:00am on 8/7/02, IMD) (Entered: 07/26/2002)

 

08/02/2002

NOTICE (RJA) oral argument on appeals to Magistrate Judge's Decision's
and Order's set for 9:00am on 9/19/02 (IMD) (Entered: 08/06/2002)

 

08/08/2002

428

MOTION by USA as to Mohamed Kaid, et al., to Extend Timc/Adjourn oral
argument date (JMD) (Entered: 08/08/2002)

 

08/21/2002

430

ORDER as to Mohamed Kaid, ct al., granting the governmenis [428-1]
motion to Adjourn oral argument. Oral argument scheduled for 9/19/2 is
adjourned to 9/27/2 at 9:00am. ( Signed by USDJ Richard J. Arcara ) Notice
and copy of order sent to all counsel (JMD) Modified on 08/22/2002
(Entered: 08/22/2002}

 

08/21/2002

Deadline updated as to Mohamed Kaid, et al., set oral argument for 9:00am
on 9/27/02. (JMD) (Entered: 08/22/2002)

 

08/30/2002

431

RESPONSE by USA as to Mohamed Kaid, et al., in opposition to [422-1]
objection, [415-1] objection, [412-1] objection, [411-1] objection, [410-1]
objection, [409-1] objection, [407-1] objection, [408-1] objection, [403-1]
objection and Appeals (IMD) (Entered: 09/03/2002)

 

09/19/2002

439

Minute entry-Adjournment as to Mohamed Kaid, et al., oral argument on
appeals from Magistrate Judge's decision and order dated 8/20/1 and
objections to report and recommendation dated 4/24/2 adjourned to 9/27/2 at
9:00am. No appcarances. RJA (IMD) (Entered: 10/07/2002)

 

 

09/27/2002

445

 

 

Minute entry/Oral Argument on appeal from Magistrate Judge's decision and
order dated 8/20/2 and defendant's objections to Magistrate Judge s’ Report
and Recommendation dated 4/24/2 as to Mohamed Kaid, et al., additional
briefing required. Defcndants papers are due 10/18/2, government response

 

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is due 11/1/2. Court will notify partics should further oral argument be
required. RJA (IMD) (Entered: 10/22/2002)

 

11/01/2002

446

RESPONSE by USA to [442-1] supplemental memorandum of law by
defendantss (JMD) (Entered: 11/04/2002)

 

12/02/2002

449

ORDER as to Mohamed Kaid, et al., denying [425-1] motion to
Amend/supplement [162-1] pretrial motions as to Page Martin (3), Richard
Emke (16), Kirk Snyder (17), A.D. Bedell Company (18) ( Signed by USDJ
Richard J. Arcara ) Notice and copy of order sent to Matthew P. Pynn,
Michael G. O'Rourke, Leonard F. Watentynowiez, John Patrick Pieri, David
R. Addelman, E. Carey Cantwell, Anthony J. Lana, Michael J. Violante,
Paul Cambria, Thomas D'Agostino, Alan D. Goldstein, Mark R. Uba,
Terrence Connors, James P. Hartington, Patrick J. Brown, John J. Carney TII,
Thomas Eoannou, Seymour Berger, L. Eugene Hunt Jr., Michael A. Rataj,
Herbert L. Greenman, J. Glenn Davis, David Gerald Jay, Joel Daniels, Glenn
E, Murray, William J. Hochul Jr. (IMD) (Entered: 12/03/2002)

 

12/02/2002

450

ORDER as to Mohamed Kaid, et al., denying defendants motions to dismiss
and motions to suppress (Docket Nos. 157,160,161,162,164,168 and 185. (
Signed by USDJ Richard J. Arcara ) Notice and copy of order sent to
Matthew P. Pynn, Michael G. O'Rourke, Leonard F. Walentynowicz, John
Patrick Pien, David R. Addelman, E. Carey Cantwell, Anthony J. Lana,
Michacl J. Violante, Paul Cambria, Thomas D'Agostino, Alan D. Goldstein,
Mark R. Uba, Terrence Connors, James P. Harrington, Patrick J. Brown,
John J, Camey IN, Thomas Eoannou, Seymour Berger, L. Eugene Hunt Jr.,
Michael A. Rataj, Herbert L. Greenman, J. Glerm Davis, David Gerald J ay,
Joel Daniels, Glenn FE. Murray, William J. Hochul Jr. (TMD) (Entered:
12/03/2002)

 

12/04/2002

451

LETTER to Leonard Walentynowicz Esq, from AUSA William Hochul
dated 12/4/2, (TMD) (Entered: 12/09/2002)

 

12/04/2002

472

Minute entry as to Mohamed Kaid, ct al., meeting to sct trial. Due to the
number of defendants, two trials will be held. Cutoff date for pleas will be
2.3.3. Trial no.1 will be held at 9:30am on 6/24/03. Final Pretrial Conference
scheduled for 10:00am on 6/10/03. Trial no. 2 will be held 10/14/ 3. Final
pretrial conference scheduled for 9/30/3. Time excluded from 6/24/3 to
10/14/3 dependent on which group of defendants will be prosecuted in trial
no. or trial no.2. Government to provide speedy trial order. Court
established schedule with respect to smoke shop fronts and mega trial
proposal containing names of defendants comprising first trial and second
trial, bill of particulars, speedy trial waivers, etc. RJA (IMD) (Entered:
02/10/2003)

 

12/09/2002

 

452

 

 

ORDER as to Mohamed Kaid, et al., to Continue in Interests of Justice Time
Excluded from 12/4/2 to 10/14/3 ( Signed by USDJ Richard J. Arcara )
Notice and copy of order sent to Matthew P. Pynn, Michacl G. O'Rourke,
Leonard F. Walentynowicz, John Patrick Pieri, David R. Addclman, E.
Carey Cantwell, Anthony J. Lana, Michacl J. Violante, Paul Cambria,

 

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Thomas D'Agostino, Alan D. Goldstein, Mark R. Uba, Verrence Connors,
James P. Harrington, Patrick J, Brown, John J. Carey TIT, Thomas Eoannou,
Seymour Berger, L. Eugene Hunt Jr., Michael A. Rataj, Herbert 1.
Greenman, J. Glenn Davis, David Gerald Jay, Joel Danicls, Glenn FE,
Murray, William J. Hochul Jr. (JMD) (Entered: 12/09/2002)

 

12/13/2002

455

Minute entry/pretnal conference as to Fadi Haydous, defense requests for
travel approval. Request denied. Government shall file sealed affidavit
ASAP. LGF (IMD) (Entered: 12/23/2002)

 

12/16/2002

454

LETTER to Judge Foschio from Thomas Eoannou counsel for defendant
Fadi Haydous dated 12/11/2 (IMD) (Entered: 12/20/2002)

 

12/19/2002

453

SEALED DOCUMENT as to Fadi Haydous (JMD) (Entered: 12/19/2002)

 

12/23/2002

456

ORDER as to Fadi Haydous denying [454-1] Ictter request for permission to
travel ( Signed by USMJ Leslie G. Foschio } Notice and copy of order sent
to Thomas Foannou, William J. Hochul Jr. (IMD) (Entered: 12/24/2002)

 

01/03/2003

461

Submission by USA re: [452-1] order of trial and bill of particulars. (IMD)
(Entered: 01/03/2003)

 

02/07/2003

470

LETTER to Magistrate Judge Foschio from Michael Stuermer counsel for
Aref Ahmed dated 2/4/3. (TMD) (Entered: 02/07/2003)

 

04/07/2003

**Remove appeal flag - no further appeals pending (IMD) (Entered:
04/07/2003)

 

05/05/2003

491

ORDER as to Fadi Haydous, pursuant to Title 18 USC 3154(5) bail
violations the Court orders the issuance of a warrant. ( Signed by Chief
USDJ Richard J. Arcara ) Notice and copy of order sent to Thomas
Eoannou, Wilkam J. Hochul Jr. US Marshal US Probation (IMD) (Entered:
05/05/2003)

 

05/05/2003

Artest WARRANT issued as to Fadi Haydous (JMD) (Entered: 05/05/2003)

 

05/13/2003

493

TRANSCRIPT of plea held before Judge Arcara filed in case as to Fadi
Haydous for dates of 1/24/1 pages 1-42. (TMD) (Entered: 05/13/2003)

 

05/30/2003

499

PRETRIAL ORDER filed as te Mohamed Kaid, et al., Trial Date set for
9:30am on 7/8/03, Pretrial Conference set for 2:00 pm on 6/17/03. ( signed
by Cmef USD] Richard J. Arcara ) Notice and copy to all counsel (IMD)
Modified on 05/30/2003 (Entered: 05/30/2003)

 

 

06/04/2003

500

 

 

PRETRIAL ORDER filed as to Mohamed Kaid, Ali Kaid, Page Martin,
Mohamed Abuhamra, Ah Abuhamra, Khaled Humaisan, Abdo Alawi, Salch
Abdullah, Ah Abuhamra Ir., Hamada Awedi, Nader Hamdan, Hussain
Berto, Harms Bamett, Fadi Haydous, Mohamed Almozahmi, Richard Emke,
Kirk Snyder, A.D. Bedell Company, Shoaib Kaaid Alhajaji, Ali Al-Fiasaly,
Ahmed Nasir, Ahmed Alshubili, Aref Ahmed, Menal Mikha, Sam Daniel,
Nabil Abdullah, Mohamed Abdullah, Mohamed Odcfa, Rmzy Abdullah,
Nagib Aviv, Khaled Aljeman, Azzeay Saleh, Azzeaz Salch Trial Date set for
9:30 7/8/03 for Mohamed Kaid, for Ali Kaid, for Page Martin, for Mohamed

 

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Abuhamra, for Ali Abuhamra, for Khaled Humaisan, for Abdo Alawi, for
Saleh Abdullah, for Ali Abuhamra Jr., for Hamada Awedi, for Nader
Hamdan, for Hussain Berro, for Harris Barnett, for Fadi Haydous, for
Mohamed Almozahmi, for Richard Emke, for Kirk Snyder, for A.D. Bedell
Company, for Shoaib Kaaid Alhajaji, for Ali Al-Fiasaly, for Ahmed Nasir,
for Ahmed Alshubili, for Aref Ahmed, for Menal Mikha, for Sam Damiel, for
Nabil Abdullah, for Mohamed Abdullah, for Mohamed Odefa, for Rmzy
Abdullah, for Nagib Aziz, for Khaled Aljcman, for Azzeaz Saleh, for Azzeaz
Saleh Pretrial Conference set for 2:00 6/17/03 for Mohamed Kaid, for Ali
Kaid, for Page Martin, for Mohamed Abuhamra, for Ali Abuhamra, for
Khaled Humaisan, for Abdo Alawi, for Saleh Abdullah, for Ali Abuhamra
Jr., for Hamada Awedi, for Nader Hamdan, for Hussain Berto, for Harris
Barnett, for Fadi Haydous, for Mohamed Almozahmi, for Richard Emke, for
Kirk Snyder, for A.D. Bedell Company, for Shoaib Kaaid Alhajaji, for Ali
Al-Fiasaly, for Ahmed Nasir, for Ahmed Alshubili, for Aref Ahmed, for
Menal Mikha, for Sam Damiel, for Nabil Abdullah, for Mohamed Abdullah,
for Mohamed Odefa, for Rmzy Abdullah, for Nagib Aziz, for Khaled
Aljcman, for Azzeaz Saleh, for Azzeaz Saleh ( signed by Chief USDJ
Richard J, Arcara ) (IMI) (Entered: 06/04/2003)

 

06/10/2003

**Terminated deadlines as to Mohamed Kaid, et al., (JMD) (Entered:
06/10/2003)

 

06/10/2003

308

Final Pre-tnal conference as to Mohamed Kaid, ct al., adjourned by the
Court to 6/17/3 at 2:00pm. No appearances. RJA (JMD) (Entered:
06/27/2003)

 

06/17/2003

509

Status conference as to Mohamed Kaid, et al. Government reports that plea
dispositions are being discussed with several defendants scheduled to go to
trial on 7/8/3. Government suggests any remaining defendants from the 7/8/3
trial group be consolidated with the 10/14/3 trial group, Court agrees. 7/8/3
inal adjourned. Time excluded. Government to submit speedy trial order.
Attomey Walentynowicz suggests the government produce pretrial
submissions. Court denics request, Walentynowicz will obiain copy of jury
questionaire utilized in another district for similar case. Court will review
questionaire when it is provided. Attomey Davis alerts the Court he will be
on trial beginning 9/17/3, However he is anticipating a plea. Attomey
Murray is anticipating filing a motion for assignment under CJA. RJA
(IMD) (Entered: 07/07/2003)

 

06/17/2003

**Torminated deadlines as to Mohamed Kaid, et al., (IMD) (Entcred:
07/07/2003)

 

06/20/2003

307

CJA 24 as to Fadi Haydous Authorization to Pay Debra Engelskirger $ 34.86
for Transcript Voucher # 030617000029 ( Signed by Chief USDJ Richard J.
Arcara ) (JMD) Modified on 06/24/2003 (Entered: 06/24/2003}

 

09/08/2003

 

515

 

 

ORDER as to Mohamed Kaid, Ali Kaid, Page Martin, Mohamed Abuhamra,
Ali Abuhamra, , Mohamed Almozahmi, Richard Emke, Kirk Snyder, A.D.
Bedell Company, Aref Ahmed, Sam Daniel, Mohamed Abdullah, Rmzy

 

 

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Abdullah, Nagib Aziz, Azzcaz Saleh, Azzcaz Saleh, set Pretrial Confercnce
for 10:60am on 9/30/03 , set Jury Selection for 9:30 am on 10/15/03 . (
Signed by Chief USDJ Richard J. Arcara ) Notice and copy of order sent to
all counsel (JMD) (Entered: 09/10/2003)

 

09/26/2003

517

PROPOSED SUMMARY OF CHARGES by USA as to Mohamed Kaid, et
al (JMD) (Entered: 09/26/2003)

 

09/26/2003

518

PROPOSED Voir Dire Questions by USA as to Mohamed Kaid, et al.,
(JMD) (Entered: 09/26/2003)

 

09/26/2003

319

Witness list by USA as to Mohamed Kaid, et al., (IMD) (Entered:
09/26/2003)

 

09/26/2003

 

520

Proposed Jury Charges by USA as to Mohamed Kaid, et al., (IMD)
(Entered: 09/26/2003)

 

09/26/2003

521

TRIAL MEMORANDUM by USA as to Mohamed Kaid, et al, (IMD)
(Entered: 09/26/2003)

 

09/26/2003

223

Exhibit list by USA as to Mohamed Kaid, et al., (TMD) (Entered:
09/26/2003)

 

09/26/2003

524

Exhibit list by USA as to Mohamed Kaid, et al., (IMD) (Entered:
09/26/2003)

 

09/26/2003

524

SEALED DOCUMENT as to Mohamed Kaid, et al., (JMD) (Entered:
09/26/2003)

 

09/26/2003

526

SEALED DOCUMENT as to Mohamed Kaid, et al., (IMD) (Entered:
09/26/2003)

 

09/26/2003

576

Minute Entry/Meeting to sei trial date before Judge Richard J, Arcara as to
Aref Ahmed, Sam Daniel, Rmzy Abdullah, Nagib Aziz and Azzeaz Saleh
held on 9/26/2003. Jury selection and trial set for 2/3/4 at 9:30am. Final
pretnial conference set for 1/27/4 at 2:00pm. Status conference set for 12/5/3
at 9:00am. Time excluded. Government to submit spcedy trial order. Court
will require affidavits from defendants rc: waiver of speedy trial time.
Affidavits due 10/10/3. (Court Reporter Debra Engelskirger.) (JMD, )
(Entered: 10/17/2003)

 

09/29/2003

532

MOTION by USA as to Mohamed Kaid, et al., to Extend Time/Adjoum
commencement of tral (JMD) (Entered: 09/29/2003)

 

09/30/2003

333

MOTION by USA as to Mohamed Kaid, et al., for Judicial Notice with
exhibits in support (JMD) (Entered: 09/30/2003)

 

09/30/2003

534

MOTION by USA as to Mohamed Kaid, et al., to Quash subpoena with
exhibit in support (JMD) (Entered: 09/30/2003)

 

09/30/2003

 

535

 

 

MEMORANDUM of LAW by USA as to Mohamed Kaid, et al., in support
of [534-1] motion to Quash subpoena (JMD) (Entered: 09/30/2003)

 

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MOTION by witness Linda Mohawk in re: Mohamed Kaid, et al., to Quash
subpocna (JMD) (Entered: 09/30/2003)

 

09/30/2003

338

CERTIFICATE OF SERVICE by USA as to Mohamed Kaid, et al., Service
Re: [537-1] support affidavit, [536-1] motion to Quash subpoena, [335-1]
support memorandum and [534-1] motion to Quash subpoena (JMD)
(Entered: 09/30/2003)

 

09/30/2003

O577

Minute Entry/Final Pretrial Conference held before Judge Richard J. Arcara
as to Mohamed Kaid, et al. Jury selection set for 10/20/3 at 9:30am.
(Entered: 10/17/2003)

 

10/01/2003

539

DEMAND FOR WITNESS STATEMENTS by USA as to Mohamed Kaid,
et al., (JMD) (Entered: 10/02/2003)

 

10/01/2003

240

RESPONSE by USA as to Mohamed Kaid, ct al, in opposition to [531-1]
motion to Continue trial (IMD) (Entered: 10/02/2003)

 

10/02/2003

542

MEMORANDUM of LAW by USA as to Mohamed Kaid, et al., in support
of [536-1] motion to Quash subpoetia (IMD) (Entered: 1 0/02/2003)

 

10/03/2003

5.44

ORDER as to Mohamed Kaid, et al., responses to all briefs shall be filed by
10/10/3. Motion Hearing, set for 10:00am on 10/20/03 re: all motions. , set
Jury selection for 9:30am on 10/21/03. ( Signed by Chief USDJ Richard J.
Arcara) Notice and copy of order sent to all counsel (TMD) (Entered:
10/03/2003)

 

10/03/2003

545

MOTION by USA on behalf of Cattaraugus County Sheriff's Department as
to Mohamed Kaid, ct al., to Quash Subpoena (JMD) (Entered: 10/03/2003)

 

10/03/2003

546

MOTION by USA as to Mohamed Kaid, ct al., to Quash Subpocna with
exhibit in support (TMD) (Entered: 10/03/2003)

 

10/03/2003

a47

MEMORANDUM of LAW by USA as to Mohamed Kaid, et al., in support
of [546-1] motion to Quash Subpoena, [545-1] motion to Quash Subpoena
(JMD) (Entered: 10/03/2003)

 

10/03/2003

348

CERTIFICATE OF SERVICE by USA as to Mohamed Kaid, et al., Service
Re: [547-1] support memorandum, [546-1] motion to Quash Subpoena,
[545-1] motion to Quash Subpoena (IMD) (Entered: 10/03/2003)

 

10/07/2003

@561

MEMORANDUM IN OPPOSITION by USA as to Page Martin, Richard
Emke, Kirk Snyder, A.D. Bedell Company, Inc. re: Proposed Voir Dire
Question 17 IMD, ) (Entered: 10/09/2003)

 

10/07/2003

562

MEMORANDUM IN OPPOSITION by USA as to Mohamed Kad, et al.,
te: Motion for an Adjournment (JMD, ) (Entered: 10/09/2003)

 

 

10/07/2003

9563

 

 

Certificate of Service by USA as to Mohamed Kaid, ct al, te [554] MOTION
to Compel, [556] Memorandum in Support, [562] Memorandum in
Opposition, [557] MOTION in Limine, [558] Memorandum in Support,
[352] Voir Dire Questions (JMD, ) (Entered: 10/09/2003)

 

 

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***Staif Notes as to Mohamed Kaid, et al., mail sent to attorney Philip
Marshall returned (IMD, ) (Entered: 10/1 4/2003)

 

10/14/2003

0570

Application for Writ of Habeas Corpus ad Testificandum USA as to
Mohamed Kaid, et al as to witness Colleen Kemnitzer (IMD, ) (Eniered:
10/15/2003)

 

10/14/2003

Writ of Habeas Corpus ad Testificandum Issued as to Colleen Kemnitzer for
October 15, 2003 @ 9:30am in case as to Mohamed Kaid, et al., (Entered:
10/15/2003)

 

10/16/2003

0574

NOTICE pursuant to Rule 16(a)(1)(F) by USA as to Mohamed Kaid, et
al.,(TMD, ) (Entered: 10/16/2003)

 

10/31/2003

@590

ORDER as to Mohamed Kaid, et al., all restraming orders and any and all
subsequent orders and any and ail Notices of Lis Pendens obtained and filed
by the government thal restrained the property listed in this order is removed
lifted and discharged . Signed by Judge Richard J. Arcara on 10/31/3. (IMD,
) (Entered: 11/05/2003}

 

11/05/2003

2591

ORDER as to Mohamed Kaid, et al, ORDER TO CONTINUE - Ends of
Justice Time excluded from 9/30/3 until 2/3/4. . Signed by Judge Richard J,
Arcara on 11/4/3. (IMD, ) (Entered: 11/06/2003)

 

11/20/2003

@601

MOTION For Order Relieving the Government of Obligations Under the
Plea Agreement by USA as to Fadi Haydous. (IMD, ) (Entered: 11/20/2003)

 

12/01/2003

607

ORDER as to Fadi Haydous granting permission to forward a copy of the
presentence report to the Eastern District of Michigan USPO . Signed by
Judge Richard J. Arcara on 11/28/3, In addition to noticed parties copies also
forwarded to USPO (JMD, ) (Entered: 12/02/2003)

 

12/23/2003

Q615

STATEMENT WITH RESPECT TO SENTENCING by USA as to Fadi
Haydous (JMD, ) (Entered: 12/24/2003)

 

12/31/2003

@619

OBJECTION TO PRESENTENCE INVESTIGATION REPORT by Fadi
Haydous (JMD, ) (Entered: 12/31/2003)

 

01/06/2004

0679

Minute Entry - Adjourment by the Court of sentencing proceedings
scheduled before Judge Richard J. Arcara as to Deft Fadi Haydous.
Sentencing rescheduled for 1/9/2004 at 12:30 PM. (Court Reporter D.
Fngelskirgcr.) (DJD, ) (Entcred: 02/05/2004)

 

01/07/2004

620

RESPONSE to Motion by Fadi Haydous re [601] MOTION For Order
Relicving the Government of Obligations Under the Plea Agreement
(Eoannou, Thomas) (Entered: 01/ 07/2004)

 

01/07/2004

O62!

First MOTION for Downward Departure pursuant to USSG 5. 5 (r1.3(c) by
Fadi Haydous, (Eoannou, Thomas) (Entered: 01/07/2004)

 

01/07/2004

 

622

 

 

MOTION to Strike by USA as to Fadi Haydous. (JMD, } (Entered:
01/07/2004)

 

 

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Se 2:05-cr-80598-GER ECF No.1 filed 06/30/05 PagelD.25 Page 25 of 50

  

2684 | Minute Entry - Sentencing proceedings as to Deft Fadi Haydous held before
Judge Richard J. Arcara on 1/9/2004. Deft requests an adjournment of
sentencing for reasons stated on the record. Court grants Deft's request.
Sentencing adjourned to 1/15/2004 at 1:00 PM.(Court Reporter D.
Engelskirger.) (JD, } (Entered: 02/08/2004)

 

 

01/12/2004 625 | MOTION to Strike by USA as to Fadi Haydous. (JMD, ) (Entered:
01/13/2004)
01/15/2004 694 | Minute Entry for proceedings held before Judge Richard J. Arcara

‘Sentencing scheduled as to Deft Fadi Haydous [or 1/15/2004, however,
sentencing did not go forward. The Court directs the Govt to provide written
papers on its stand opposing Deft's entitlement to acceptance of
responsibility. Govt's papers due by 1/28/2004. Sentencing rescheduled for
1/30/2004 at 12:30 p.m. (Court Reporter D. Engelskirger.) (DJD, ) (Entered:

 

 

 

 

 

02/15/2004)

01/20/2004 9628 | MEMORANDUM on Acceptance of Responsibility by USA as to Fadi
llaydous (IMD, ) (Entered: 01/20/2004)

01/21/2004 9630 | Proposed Voir Dire by USA as to Mohamed Kaid, et al., (IMD, ) (Entered:
01/22/2004)

01/21/2004 9631 | Proposed Jury Charges by USA as to Mohamed Kaid, et al..(JMD, )
(Entered: 01/22/2004)

01/21/2004 9632 | Certificate of Service by USA as to Mohamed Kaid, et al., re 630 Proposed
Voir Dire, 631 Proposed Jury Instructions (JMD, ) (Entered: 01/22/2004)

01/23/2004 @ | E-Filing Error Corrected: [638] ** PLEASE DISREGARD ENTRY,

DOCUMENT E-FILED AS PART OF TEST ENTRY** DECLARATION
(IMD, ) Modified on 1/23/2004 (JMD, ). (SMD, ) (Entered: 01/23/2004)

 

 

 

 

 

 

 

01/23/2004 9639 | WITNESS LIST by USA as to Mohamed Kaid, et al., (IMD, ) (Entered:
01/23/2004)

01/23/2004 640 | TRIAL Memorandum by USA as to Mohamed Kaid, et al., (TMD, )
(Entered: 01/23/2004)

01/23/2004 @651 | Certificate of Service by USA as to Mohamed Kaid, et al., re 639 Witness
J.ast, 640 Tnal Memorandum (JMD, ) (Entered: 01/28/2004)

01/27/2004 @655 | NOTICE OF ATTORNEY APPEARANCE Allison P. Gioia, Anthony
Bruce appearing for USA. (IMD, }) (Entered: 01/29/2004)

(1/27/2004 2656 | MOTION to admit exhibits pursuant to rule 803(10) and 902 by USA as to
Mohamed Kaid, et al.,(JMD, ) (Entered: 01/29/2004)

01/27/2004 657 | AMENDED WITNESS LIST by USA as to Mohamed Kaid, et al.,(JMD, )
(Entered: 01/29/2004)

01/28/2004 652 | RESPONSE in Opposition by Fadi Haydous re [601] MOTION For Order

Reheving the Government of Obligations Under the Plea Agreement With
Respect to 3E7.7 (Eoannou, Thomas) (Entered: 01/28/2004)

 

 

 

 

 

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24 of 25

9/2004

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D539

Application/PETITION AND ORDER for Writ of Habeas Corpus ad
Testificandum as to Mohamed Kaid, et al.,(JMD, ) (Entered: 01/29/2004)

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Se 2:05-cr-80598-GER ECF No.1 filed 06/30/05 PagelD.26 Page 26 of 50

 

01/29/2004

o

Writ of Habeas Corpus ad Testificandum Issued as to Colleen Kemnitzer for
January 30, 2004 ai 10:00 am in case as to Mohamed Kaid, et al.,(JMD, )
(Entered: 01/29/2004)

 

01/30/2004

720

Minute Entry for proceedings held before Judge Richard J. Arcara
‘Sentencing held on 1/30/2004 for Deft Fadi Haydous (14), Count(s) 1, 101,
dismissed; Count(s) 98, Deft is sentenced to the custody of the Bureau of
Prisons for 27 months incarccration. Upon release, Deft to be placed on
supervised release for 3 years with special conditions. Deft ordered to make
restitution in the amount of $322,500.00 to be paid joint and several. No
fine. Deft to pay $100.00 special assessment. Deft remanded. Court grants
Govt motion to dismiss counts | and 101 of the indictment as to this Deft.
(Court Reporter D. Engelskirger.) (DID, ) (Entered: 03/02/2004)

 

02/03/2004

675

PRESENTENCE INVESTIGATION REPORT (Sealed) as to Fadi Haydous
(JMD, } (Entered: 02/03/2004)

 

02/04/2004

Q677

MEMORANDUM of LAW by USA as to Mohamed Kaid, ct al., on the
Presumption Under 18 U.S.C. 3148(b) and the Definition of "Conviction"
Under State Law(JMD, ) (Entered: 02/04/2004)

 

02/05/2004

2680

MEMORANDUM/BRIEF/RESPONSE by USA as to Mohamed Kaid, et al.,
mm response to the Court's February 2, 2004 rcquest for a Memorandum of
Law re; Governments Exhibit 3570A(7MD, ) Modified on 2/6/2004 (TMD, ).
(Entered: 02/05/2004)

 

03/03/2004

@725

JUDGMENT as to Fadi Haydous (14), Count(s) 1, 101, Dismissed.;
Count(s) 98, Deft is sentenced to the custody of the Bureau of Prisons for 27
months incarceration. Upon release, Deft to be placed on supervised relcasc
for 3 years with special conditions. Deft ordered to make restiution inthe
amount of $322,500.00 to be paid joint and several. No fine. Deft to pay
$100.00 special assessment. Deft remanded. Court grants Govt motion to
dismiss counts 1 and 101 of the mdictment.. Additional certified copies
forwarded to USPO, USM, US Attorney, Debt Collection, Financial
Department. . Signed by Judge Richard J. Arcara on 3/3/04. (JMD, )
(Entered: 03/03/2004)

 

03/03/2004

0733

Sealed Document (JMD, ) (Entered: 03/05/2004)

 

03/29/2004

***Terminated defendant Fadi Haydous, pending deadlines, and motions.
(JMD, ) (Entered: 03/29/2004)

 

05/13/2004

Terminate Deadlines and Hearings as to Mohamed Kaid, et al.,(JMD, )
(Entered: 05/13/2004)

 

 

06/02/2004

 

 

***Motions tenminated as to Mohamed Kaid, et al., : [889] MOTION (IMD,

 

) (Entered: 06/02/2004)

 

 

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e 2:05-cr-80598-GER ECF No.1 filed 06/30/05 PagelD.27 Page 27 of 50

16/2004

911

 

MANDATE of USCA (certified copy) as to re [691] Notice of Appeal -
Interlocutory by Leonard Walentynowicz dismissing the appeal because this
Court has determined that it lacks jurisdiction over this appeal because a
final order has not been issued by the district court as contemplated by 28
U.S.C, 1291, ctc. Therefore, it is ordered that the appcal is dismissed and the
Government's motion to be dismissed as a party is denied as moot. (DR, )
(Entered: 06/16/2004)

 

08/04/2004

***Motions terminated as to Harris Barnett [957] MOTION to Adjoumn
Sentencing filed by Harris Barnett, [958] First MOTION to Adjourn
sentencing filed by Harms Barnett. **DOCUMENTS ARE NOT MOTIONS,
DOCUMENTS ARE AFFIDAVITS IN SUPPORT OF [956] MOTION**
(IMD, ) (Entered: 08/05/2004)

 

01/18/2005

@1049

ORDER : In te: L. F. Walentynowicz, denying attomey Walentynowicz's
request that this Court withold any further action in connection with
counsel's petition for a writ of mandamus with the United States Court of
Appeals. Signed by Judge Richard J. Arcara on 1/18/05, (JDK, ) (Entered:

 

01/25/2005

01/18/2005)

NOTICE by USA as lo Mohamed Kaid, et al., Affidavit hy USA (Bruce.
Anthony} Modified on 1/25/2005 (JDK, ). (Entered: 01/25/2005)

 

03/01/2005

TRANSCRIPT of Proceedings as to Mohamed Kaid, ei al., in re: Lconard
Walentynowicy held on 2/2/05 before Judge Richard J. Arcara. Court
Reporter: Julic Wycoff. pages 1-95, transcript maintained in paper form in
the Clerk's office (JDK, } (Entered: 03/01/2005)

 

03/26/2005

Sentencing adjoumed, rescheduled for 7/5/2005 01:00 PM before Hon.
Richard J. Arcara, Signed by Judge Richard J. Areara on 05/24/2005.
(Baker, J.) (Entered: 05/26/2005)

 

06/28/2005

ORDER OF TRANSFER (Rule 21) to Eastern District of Michigan as to
Fadi Haydous . Signed by Judge Richard J. Arcara on 6/3/05. (JDK, )
(Entered: 06/28/2005)

 

 

06/28/2005

 

 

Clerk mailed certified copies of transfer of jruisdiction to Eastern District of
Michigan along with certified copies of docket shcet, indictment, plea
agreement and judgment as to Fadi Haydous (JDK, ) (Entered: 06/28/2005)

 

6/28/2005 3:09 PM

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Se

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

  

 

    
 
    
       
        
  
 
   
 
  

WESTERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
¥, (For Offenses Commitied Oa or After November 1, 1987)
FADI HAYDOUS Case Number: 0 oS
Thomas J. Eoannou : ) 9 8
Defence's Attorney

THE DEFENDANT:
[E] pleaded guilty to count(x) 98 3
C1 pleaded nulo contendere 1 equat(s) Pa

which was accepted by the court. aT
(owas found guilty on count{s} gy owe

after a plea af not guilty. 9 pr

y “uF pe!
ACCORDINGLY, tite court has adjudicated that the deftndant is guiity of the following offensers): my ORS eon
Date Offenke 3 Count
Title & Section Nature of Offense Conchnded =| Number(s}
18 U.S.C. §2342fa) & Trafficking in Coalraband Cigarettes 05/06/97 98
§2344fa)
JUN 30 2005
‘the delondant is sentenced as provided in pages 2 through 6 of this judgment. The sentepbeny Rane tt). g
. the Sentencing Reform Act of 1934. U.S. DISTRICT couRT

C) The defendant has been found not guilty on eount(s)

 

 

FE?) Count(s} 1 & 101 Dis = BS) are dismisrod on the motion of the United States.

IT TS ORDERLD that the defendant shalt notify the United States attomey for this district within 30 days of any change of nae,
Tosidence, or mailing address until alt fines, restitution, costs, and apecial assesiments imposed by this judgment are fully paid. Ifordered to pay
Testitution, the defendant shall notify the court and United States alfrney Of ary malenal change in the defendant's economic cireumstaices.

 

 

 

Defendant's So, See. No 37 49-17-9524 January 30, 2004

Date of lnposition of ludgment
Defendant's ete of Binh: April 12. 1974
Befendant's WSh Ao: 27041-0599 i}

 

 

Signature of Judicial Ontions '

Defendant's Residence Agdpess:

 

 

 

 

 

 

 
 

Bureau of Posxuns a eneg
_ HOF. aicitarb J. ARCARA, Chief 'U,§, District Judye
_. DOCUMENT Name und Gtle of Judicial Oliver
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. document which wae clectronically filed with tlie United §
———— fristrivreuorttor- the Wester Disirist-eF New York

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Todyrrent — Page —iZ Or 6

 

DEFENDANT; FADT HAY DOUS
CASE NUMER: IMICROOI3 1-14

IMPRISONMENT

‘The defendant is hereby conumitted ty the custody of the United States Bureau of Privons to be imprisoned for a total
tern af _27 months

BJ The court makes the [allowing recommendations to the Bureau of Prisons:
The Court recotnnends that the defendant be designated to PCI Milan.

Rd The defendant fs remanded to the custody of the United Statex Marshal,

0 The defendant shall surrender to the United States Marshal for this district:
O at Oem OGpm on .

1 as notified by the United Stares Marshal,

 

L ‘The delendant shall surrender for service of sentence al the institution designated by the Bureau of Prisons:

CJ belore 2 p.m. on

 

C] as notified by the United States Marshal.

CT as notified by the Probation or Prewial Services Office.

 

 

 

 

 

 

 

 

 

 

 

 

RETURN
have executed this judement as follows:
Defendant delivered on lo
at » with a certified eapy of this judement
UNITED STATES MARSHAL
By

 

DEPLTY UNITED STATES MARSHAL,

 
 

acy 2458 RAGA GORI St ARLE N8cdmdler 6 ISQANea oBRar00° ac ee g 90

Aheel I — Sapervised Releuse
a

=r rye a SS
Judgcumnt—Page 3 oF ft

DEFENDANT: PAD] NAYTHOUS

CASE NUMBER: 1:99CR00131-014

 

 

MiGvab

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be On supervised release foe aterm _ three (3) years

Tie defendant shall report to the prubstion office in the district to which the defendant is released within 72 bours of release from the
custody of the Bureau of Prisons.

The defendant shail net commit another federal, state or iseal crime,
The defendant shall not illegally possess # controlled substance.
For offenies committed on or after September 13, 199d:

The defendant shall refrain from any untawful use of a controlled subsranec, The defendant shall submit to one drug test within 15 davs
of release froru imprisonment and at least two Periodic drug ists thereafter, °

E} The above drug testing condition is suspended, based on the court's determinution that the defendant poses a low risk of
falure substance abtuse.

(1 The defindaunt shall not possess a fircarm, desttuctive device, or any other dangerous weapon,
Ifthig judyment imposes a fine or a restitution obligation, it shall be a condition of supervised release thal the defendant pay any such
fine or restitution that renting anpaidat the commencetvent of the term of su pervised reicass maccordanee with the Scheduleof Payinents
set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by Lhis court (set forth below), The defendant shail also
comply with the additional conditions on the attached puge.

STANDARD CONDITIONS OF SUPERVISION

1) the detendant shal} not lcuve the judicial distwict without the permission of the court or probation officer:

2) che lefendanst shall report co the probation officer and shall submil a truthtyl and compicie written reportwithin the first ve days of
faCD Monti;

3) the defendant shall answer truthtulty all Inquiries by tae probation officer and follow the imstructions of the probation officer,
4} the defendant shall support his or het dependents and meet nlher family responsibillties,

3) the defendant shall work regularty al a lawful occupation, unless excused by the probation olticer for schooling, training, or other
acceptable reasons: .

i) the defendant shall notity the probation officer at least ten days priar to any change in residence ot employment:

7) the defendant shall refrain from ex cessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any eyntrelled substances, éXvept a5 prescribed by a physician:

8) the defendant shall not frequent places where controlfed suhstanves are legally sold, used, distributed, or administored:

9) the defendant shalt out axnocie with any persons cilgaged in criminal activity andshall not associate with any person convicted ofa
felony, unless prmted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to Visit kim or her al any time at home or elsewhere and shall pormit confiscation of any
vontrabsad observed in plain view of the probation offleer;

HL} the defendant shall notify the probation olticer within Seventy-two hours of being arrested or questioned by a law enforcement of Tieer:

12} the defendant shal! nat enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission af the court;

 

13) as directed by the probation officer, the defendant shal] notify third parties of risks hal may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such hotifications and toe confim the
defendants complimee with such notification requiremienc.

 

 
 

 

 

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MICysb
sheet 3 — Continued 2 — Supervised Release

~ — Widgraer— Payer 4 oF t
DEFENDANT: TAD! HAYDOUS

CAST NUMBER: 1:99CRO0013 1-014

SPECTAL CONDITIONS OF SUPERVISION

The defendant. shall provide the US. Probation Office with access to any requested persunal and/or business finuneiat
inlurmation. The U.S, Probation Office is authorized to release re-senlerice and post-sentence financial information submitted
by the defendant to the US. Allomey’s Office for nse in the co lection of any unpaid fine or restitution, If restitution or a tinc
5 owed, the defendant shall notify the U.S. Probation Office of any assels received and shail nor disburse his/her interest in any
assets, including, but nut timited lo, income tax refunds, inheritance, insurance and lawsuit sctilements, or gambling wirmings
without the approval of the U.S. Probation Offtee.

The defendant shall not incur any form of debt including, but not limited Ww, use of oxisting credil cards, now eredit cards, lines
of credit, morigages or private loans without the approval of the US. Probation Offices.

‘The defendant shali submit to x search of his person, property, vehicie, place of residence or any ather property under his control
and permit confiscation of aly Cvidence or contraband discovered.

lf deported, the term of supervised release shall be unsupervised.

If deported, the defendant shall not re-enter or attempt to re-enter the United Staicy without the written anthotization of the
Seerctary of Homeland Security.

If not deported, the term of supervised release shall he supervised,

 

 
 

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Shect 3 — Criminal Monetary Penalties

 

 

tu dement — Page . of ti
DEFENDANT: FAD HAY DOUS

CASE NUMBER: 1-99CR00131-014
CRIMINAL MONETARY PENALTIES

‘The defendant shall pay the following total criruinat monetary penalties in accordance with the schodule of payments set forth on
Sheet 4, Part 1.

ATIF ent Fine Restitution
TOTALS § 100 § @ § 322,500

OF ‘The determination of restitution is deferred - An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination,

[1 The defendant shall make ccstitution Gacluding community restitution} to the followin E payees in the amount listed below.

Ifthe defendant makes a partial pavesent, cach payes shall receive an approximately (pre portioned paymient, unless specified otherwise in
the pitorlty order or percentage payment column below. lowever, pursuant tp 18 U.8.C. § 3664()), all nonfederal victims mustbe paid
in full prier to the United Stutes receiving payment,

Priority Order

*Tatal Amount of or Percentage
Name of Payee Alnount of Loss Restitution Ordered of Pavinent
State oF Michigan $322,500 $922,500
TOTALS $ 322 300 § 322,500

 

O Jtapplicable, restitution amount ordered pursuant to plea agreement £

 

CL] The defendant shall pay interest on any fine or restitution of more than $2,500, unless the time or restitution {s pald in (ull before the
fiflcenth day atter the date of the judgment, pursuant to [8 U.S.C. 4 3612(9. Alt of the payment oplons on Sheet 5, Part G may be
subject to penalties for delinquency and default, pursuant io 18 US.C_ § 3642tz).

[2] ‘Lhe coust dewrmined that the defendant does not have the ability to pay interest, and it is ordered that:
KB] the interest requirement is waived forthe [J fine Rj orestitution,

[] the inmrestrequirementiferthe [fine [J restitudion is moxtified as follows:

* Pindings for lhe total umount of losses are required under Chupters 109A, 116, 11UA, and 113A of Title £8, United States Code, for offenses
cominilica on ar after September 13, 1994 but beftre April 23, 1996,

 

 
 

 

 

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Anns = aRGasgecihia GME RIRLGCF Nechmblays§/3q43, BRE or Page ae 20

Sheet 6 — Criminat Monelary Ieniatties
——— = —

Farlyment — Page 6 uf 6
DEFENDANT: FAD! HAYDOLS

CASE NUMBER: 1:99CRO013 1-014

MuQvab

 

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the lotal criminal monetary penalties shall be due a follows:

A (] Cump som payment of $ - due immediately, balance due’

oot later than , or
O maccordance with OC, [J Der [) Bbetow; or

B (7 Taymenito begia immediately (may be combined OY. © tor [QL below); or

C 7 Payinent in (e.g. equal, weekly, Tronthly, quarterly) installments of over a period af
(3.8. morhs or years), to {e.g., 30 or 60 days) after the daic of this judgment; or

 

BD OO Poymer in (@2., tquul, weekly, monthly, quarterly} installments of __ over a period of

(c.g., months or years}, Lo (e.g., 30 of 60 days) after roleaye from iniprisonment to
teri of supervision; or

 

 

E &) Special instructions regarding the payment of criminal Tionetary penaltivs:

The Special Penally Assossment is due in [ull immecdiare),, Pursuant ov 18 11.9.0. S4663A, it is ontered thatthe detendsnt make restuticin ba
ihe victinis i the amount of $322,500 19 the State of M ithlpan, Department of Finance. to be paid joint and several with the offer 02
defendawts canyicted in this Indictment, The restitution is die inamediately. [nlérest on the 7eslLuuion és waived. While incaretrated, i| the
defendant is non-LiNICOR ar UNICOR grade 5, the defendant shail pay installments of $25 per quarter, Wssigned grades | theaush f in
CMICOR, the detendant shall pay inulallments df 56% of ths inmate's enonthly uy. After considering the factors set furlh in 18 eee

A061 (1)(2), while on supervised relouse, the defendant yhull make ural insiallments at the race of $450 por manth, Pull payment of the
restitation rg glue at keast thtea months prior fo the expiration of superviston.

Unlevs lhe court bas exprossly orderal otherwise in the special insinaction shove, if this judgment impases ¢ perivd Of lapriseriment, payment af criminal
inonetary penalties shall be due during the penod IMIPTIsanment, All criminal monetary penal ie except those pavnends made through the Federal Burewy
af Prlvos Inmate I Inaneal Responsibility Program, are male to the elerk of the our unless otherwise directed by the court, the probation & 10ef, cor Le

niled Suiley nlterncy.

 

The defendant shall reesive credil fur ul payments previously made toward any ¢riminul monctary penalties impoyed.

O x int and Several

Defendant Name, Case Nuntbet, and Joint and Several Amount:

CL) the defensdent shall pay the cost of presecutian.
CQ] The defendant shall pay the followiny court
[The defendant shall forfeit the defendant's interest in the following Troperty to the United States:

Payments shail be applied in the following order: (1) asscasment, (2) restitution principal, (3) restitution interest, (4) fine principal,
{$} community restitution, (6) fine interest (7) penalties, and (8) casts, includ ine cost OF prosecution and court casts.

 

 
 

 

o98

IN THE DISTRICT COURT OF THE UNITED STATES

For the Western District of New York

 

NOVEMBER 1997 GRAND JURY

. (Empaneled 10/30/97)
THE UNITED STATES OF AMERICA

GQO°CR- 182.
-VS- INDICTMENT
MOHAMED KAID, Violations:
a/k/a JIMMY, a/k/a MOHAMED QAYED,
a/k/a MOHAMED MOSAID, Title 18, U.S.C.,
(Cts. 1, 4, 5, 8, 11, 12, 19, 23, 24, 30, 32, 37, §§ 1956(h), 2342, 2,
50, 51, and 100-102)

ALI KAID,
a/k/a ABDO HUSSEIN, a/k/a ABDUL,

(Cts. 1-3, 7, 9-11, 16-20, 23, 27, 28, 30, 32-34, 36, 39-46,

48-51, 53, 54, 68-70, 72, 73, 79, 80, 82, 84, 93-97, and 100-102)
PAGE MARTIN,

ROWW-FSG
(Cts 1-102) cunts biguncr cOURY
MOHAMED ABUHAMRA, a
a/k/a MIKE, me
(Cts. 1, 11, 22, 24, 26, 57, and penne aoFeur ony - Ve ws
ALI ABUHAMRA, us oo eo
(Cts. 1, 41, 45, 57, and 101) ROUNET. ‘ ee
KHALED HUMAISAN, Ae _s 9 Kvn. o
a/k/a ALI OMAR, (oi | ho
(Cts 1, 82, and 101) Coe “gpm /ag
ABDO ALAWI, : |
a/k/a SAM 2, a/k/a HAMOOD,
(Cts. 1, 2, 9, 11, 12, 21, 23, 42, 44; 45, 48, 51-53, 70, 73, 80, and 101)
SALEH ABDULLAH,
a/k/a SAM 1,

(Cts. 1, 3, 7, 14, 18, 21, 23, 53, 73, 79, 80, $9, 90, 94, and 101)

1962(d), 1963 and 982.

102 Gente D

JUN $0 7005

ALI ABUHAMRA, JR.,

a/k/a ALT MOSED, a/k/a ALI BAILEY,
(Cts. 1, 12, 38, 59-61, 63-65, 67, 71, 75, 76, 78, and 101)
 

    

€ 2:05-cr-80598-GER ECF No.1 filed 06/30/05 PagelD.35 Page 35 of 50

HAMADA AWEDI,
a/k/a MIKE,
(Cts. 1, 55, and 101)
NADER HAMDAN,
a/k/a NICK,
' (Cts. 1, 55, and 101)
HUSSAIN BERRO,
a/k/a SAM,
(Cts. 1, 58, and 101)
HARRIS BARNETT,
a/k/a ALEX,
(Cis. 1, 58, and 101)
FADI HAYDOUS,
a/k/a FREDDY,
(Cts. 1, 98, and 101)
MOHAMED ALMOZAHMI,
a/k/a RED FANNY,
(Cts. 1, 29, 31, 35, 44, 47, 50, 51, 53, and 101)
RICHARD EMKE,
(Cts. 1, and 100-102)
KIRK SNYDER,
(Cts. 1, 22, 29-32, 36, 41, 42, 45, 53, 56-97, and 100-102)
A.D, BEDELL COMPANY, INC,,
(Cts. 1-102)
SHOAIB KAAID ALHAJAJI,
a/k/a HIGH STREET JOAN,
(Cts. 1, 6, 7, 10, 12, 13, 15, 17, 21, 22, 24, 26, 37, 40, 43, and 101)
ALI AL-FIASALY,
(Cts. 1, 12, 45, 60, 61-63, 67, 76, 78, 81, 83, 84, 86, 91, and 101)
AHMED NASIR,
a/k/a SHUBWA,
(Cts. 1, 8, 19, 31, 32, 35, 56, 64, 65, 67, and 101)
AHMED ALSHUBILI,
a/k/a LITTLE SHUBWA,
(Cts. 1, 8, 11, 37, 51, 64, 78, 81, $3, 86, and 101)
AREF AHMED,
- (Cts. 1, 82, 90, 93-95, 97, and 101)
MENAL MIKHA,
(Cts. 1, 76-78, 97, 99, and 101)

 

 
   

 

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SAM DANIEL,

(Cts. 1, 76-78, 99, and 101)
NABIL ABDULLAH,

(Cts. L, 66, 74, 79, 83, 87, 89, and 101)
MOHAMED ABDULLAH,

(Cts. 1, 3, 17, 43, 66, 74, 79, 83, 85, 88, 95, and 101)
MOHAMED ODEFA,

a/k/a OTTIFA,
(Cts. 1, 7, 16, 19, 21, 25, 29, 43, 53, 54, 68, 94, and 101)

RMZY ABDULLAH,
(Cts. 1, 9, 45, 51, 92, 94, 96, and 101)
NAGIB AZIZ,

a/k/a NICO,

(Cts. 1, 29, 66, 84, and 101)
KHALED ALJEMAN,

a/k/a SPEEDO,

(Cts. 1, 87, and 101)

FNU AZIZ,
a/k/a MIKE AZIZ, a/k/a MIKE LINCOLN,
(Cts. 1, 22, 36, and 101)

The Grand Jury Charges:
That at all times material to this Indictment:
INTRODUCTION

1. The tobacco industry was highly regulated by Federal and

State governments.

2, The States of New York and Michigan imposed an excise tax

upon cigarettes possessed for sale within their borders,

 

 
  
 

 

 

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THE NEW YORK STATE EXCISE TAX

3. The cigarette excise tax in New York State was $.56 per
pack. The responsibility for collecting this tax was delegated by
the New York State Department of Taxation and Finance (“New York
Department of Taxation”) to one of several cigarette stamping

agents.

4. In order to become a stamping agent, a cigarette wholesale
company would apply to the New York Department of Taxation for a
cigarette stamping license. If granted a license, the stamping
agent was entitled to receive untaxed cigarettes directly from
cigarette manufacturers. Thereafter, the stamping agent was
required by law to place a tax stamp on all packs of cigarettes
destined for sale in the State of New York, evidencing that the New
York State cigarette excise tax had been properly levied. A
stamping agent was paid a fee by the State af New York for these

services.

5. Excise tax stamps did not, however, have to be placed upon
packs of cigarettes sold within New York to a Native American smoke
shop. This exception applied only if such sales occurred on a New
York State Indian reservation, and were sold to Native Americans

for use on the reservation.

 
  

 

 

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6, All cigarette sales made by a stamping agent were required
by New York State law to be recorded on a form known as Form CG6,
which had to be sent on a monthly basis to the New York Department
of Taxation in Albany, New York, with a certification that the

information contained therein Was true and correct,

THE MICHIGAN EXCISE TAX

7. Commencing on or about May 1, 1994, the cigarette excise
tax imposed upon all cigarettes possessed for sale within the State
of Michigan increased From $.25 to $.75 per pack, Michigan law
required a tax stamp to be placed upon each half-case of cigarettes

until in or about 1958.

8. Michigan law at all times required any person possessing
for sale any quantity of untaxed cigarettes be licensed by the

Michigan Department of Treasury.

 
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THE FEDERAL CIGARETTE LAWS AND REGULATIONS
9. Pertinent Federal laws and regulations provide that:

a) Contraband cigarettes are defined as a quantity of
cigarettes in excess of 60,000 which bear no evidence of the
payment of State taxes where such cigarettes are found (hereafter,
“contraband cigarettes”), as provided in Title 18, United States

Code, Section 2341(2).

b) It is illegal for any person to knowingly ship,
transport, receive, possess, sell, distribute or purchase
contraband cigarettes, as provided in Title 18, United States Code,

Section 2342 (a).

c) All persons who ship, sell, or distribute any
quantity of cigarettes in excess of 60,000 ina single transaction
shall maintain certain records regarding the distribution of such
cigarettes, including the name of the recipients and the intended
destination of such cigarettes, and to not make any false statement
or representation with respect to such information, as provided in

Title 18, United States Code, Sections 2342(b) and 2343,

d) All persons who sell or transfer for profit

cigarettes in interstate commerce, whereby such cigarettes are

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shipped into a State taxing the sale or use of cigarettes, to other
than a distributor Licensed by or located in such State, shall
notify and provide such State’s tobacco tax administrator with
certain information concerning the identity of the person receiving
the cigarettes, and the quantity of cigarettes, as provided in

Title 15, United States Code, Sections 375 through 378.
THE DEFENDANTS

10. The defendant A.D. BEDELL COMPANY, INC., was a New York
State corporation, and licensed New York State cigarette stamping
agent, having principal offices in Salamanca, New York, within the

Western District of New York,

11. Defendant PAGE MARTIN was the President and sole
shareholder of defendant A.D. BEDELL COMPANY, INC. Defendant
MARTIN initiated, authorized, directed and profited from many of

the illegal activities described herein.

12, Defendant RICHARD EMKE was the day manager of the
defendant A.D. BEDELL COMPANY, INC. Defendant EMKE directed and
supervised many of the illegal activities described herein,
including the distribution of contraband cigarettes to many of the

defendants herein.

 
 

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13. Defendant KIRK SNYDER was a warehouse manager, driver and
Salesman for the defendant A.D. BEDELL COMPANY, INC. Defendant
SNYDER initiated and participated in many of the illegal activities
described further herein, including the distribution of contraband

cigarettes to many of the defendants herein.

14. Defendants MOHAMED KAID, ALI KAID, MOHAMED ABUHAMRA, ALI
ABUHAMRA, KHALED HUMAISAN, ABDO ALAWI, SALEH ABDULLAH, ALI
ABUHAMRA, JR., HAMADA AWEDI, NADER HAMDAN, HUSSAIN BERRO, HARRIS
BARNETT, FADI HAYDOUS, MOHAMED ALMOZAHMT, SHOATB KAATID ALHAJAJL,
ALI AL-FIASALY, AHMED NASIR, AHMED ALSHUBILI, AREF AHMED, MENAL
MIKHA, SAM DANIEL, NABTL ABDULLAH, MOHAMED ABDULLAH, MOHAMED
ODEFA, RMZY ABDULLAH, NAGIEB AZIZ, KHALED ALJEMAN, true First Name
Unknown (above and hereafter FNU) AZIZ, and others, illegally
received, transported, possessed, sold, distributed and purchased
Massive quantities of contraband cigarettes. These defendants were
pericdically referred to as “runners”, among other terms, by
defendants MARTIN, EMKE and SNYDER, as well as many of the
employees of defendant A.D, BEDELL COMPANY, INC. None of the
defendants identified as “runners” was licensed by the Michigan
Department of Treasury, or authorized by the State of New York, to

possess for sale any quantity of untaxed cigarettes.

15. The defendants harmed many innocent victims, including
legitimate businesses that complied with Federal and State laws,

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persons who were targeted for acts of violence and retaliation by
the defendants, citizens of the affected States who relied upon the
funding provided by the excise tax levy, and Caxpayers forced to

pay additional taxes to make up for the excise tax shortages.
THE DEFENDANTS’ CRIMINAL SCHEME

16, Between approximately 1994 through 1998, the exact dates
being unknown to the Grand Jury, the defendants and others, both
known and unknown, devised and intended to devise a criminal scheme
designed to defraud the States of New York and Michigan out of tens
of millions of dollars of cigarette excise tax revenues. The
scheme involved defendants MARTIN, EMKE, SNYDER, and A.D. BEDELL
COMPANY, INC., providing massive amounts of contraband cigarettes
to defendants MOHAMED KAID, ALI KAID, MOHAMED ABUHAMRA, ALI
ABUHAMRA, HUMAISAN, ALAWI, SALEH ABDULLAH, ALI ABUHAMRA, JR.,
AWEDI, HAMDAN, BERRO, BARNETT, HAYDOUS, ALMOZAHMI, ALHAJAJI, AL-
PIASALY, NASIR, ALSHUBILI, AHMED, MIKHA, DANTEL, NABIL ABDULLAH,
MOHAMED ABDULLAH, ODEFA, RMZY ABDULLAH, NAGIB AZIZ, ALJEMAN, FNU
AZIZ, and others known and unknown. In many instances, the
defendants utilized the premises and business account of a Native |
American smoke shop as a “front” to facilitate the distribution of

the contraband cigarettes. These contraband cigarettes were
 

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thereafter resold on the black market, without payment of the

required New York and Michigan cigarette excise taxes.

17, The defendants’ criminal scheme generated tens of
millions of dollars in illegal proceeds. The defendants utilized
these illegal proceeds to purchase additional contraband
cigarettes, enrich themselves and their co-conspirators, and engage
in financial transactions in various domestic and foreign financial

institutions.

COUNT ONE

(CONSPIRACY TO COMMIT MONEY LAUNDERING
INVOLVING THE PROCEEDS OF WIRE FRAUD,
CONTRABAND CIGARETTE SMUGGLING,
AND OTHER UNLAWFUL ACTIVITIES)

The Grand Jury Further Charges:

18. The factual allegations contained in Paragraphs 1 through
17 of this Indictment are re-alleged and incorporated herein as if

more fully set forth.

19. Beginning in or about the summer of 1994, and continuing
thereafter up to and including 1998, the exact dates being unknown,
in the Western District of New York and elsewhere, the defendants,

MOHAMED KAID, ALI KAID, PAGE MARTIN, A.D. BEDELL COMPANY, INC.,

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RICHARD EMKE, KIRK SNYDER, MOHAMED ABUHAMRA, ALI ABUHAMRA, KHALED
HUMAISAN, ABDO ALAWI, SALEH ABDULLAH, ALI ABUHAMBA, JR., HAMADA
AWEDI, NADER HAMDAN, HUSSAIN BERRO, HARRIS BARNETT, FADI HAYDOUS,
MOHAMED ALMOZAHMI, SHOAIB KAAID ALHAJAJI, ALI AL-FIASALY, AHMED
NASIR, AHMED ALSHUBILI, AREF AHMED, MENAL MIKHA, SAM DANIEL, NABIL
ABDULLAH, MOHAMED ABDULLAH, MOHAMED ODEFA, RMZY ABDULLAH, NAGTIB
Ad14, KHALED ALJEMAN, and FNU AZIZ, did knowingly and intentionally
combine, conspire, confederate and agree, together and with others,
both known and unknown, to commit violations of Title 18, United
States Code, Sections 1956(a) (1) (A) (i) and (B) (i); that is, to
conduct and attempt to conduct financial transactions affecting
interstate and foreign commerce, knowing that the property involved
in the financial transactions represented the proceeds of some form
of unlawful activity, and which property in fact involved the

proceeds of specified unlawful activity, with the intent:

a) to promote the carrying on of specified unlawful

activity; and
Bb) knowing that the transactions were designed in whole

or in part, to conceal the nature, location, source, ownership, or

the control of the proceeds of specified unlawful activity.

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THE OBJECT OF THE CONSPIRACY

 

20. The object of the conspiracy was to engage in numerous
financial transactions to generate large amounts of money through
the massive smuggling of contraband cigarettes, and Chrough other
criminal activities related to contraband cigarette trafficking, by
avoiding and evading the collection and payment of New York and
Michigan cigarette excise taxes. The object of the conspiracy was

achieved through the following:

a) The defendants and others utilized communications
facilities in interstate commerce, including facsimile machines and
telephones, to transmit orders for large quantities of contraband
cigarettes from locations within the State of Michigan to locations

Within the Western District of New York.

b) The defendants and others utilized codes and
-nicknames in the ordering and packaging of contraband cigarettes so
as to facilitate the shipping, transporting, receiving, possessing,
purchasing, selling, and distributing of the contraband cigarettes
among the defendants, and to conceal from law enforcement

authorities and others their true identities.

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c) The defendants and others utilized a Native American
smoke shop, as well as other locations in and around the Native
American reservations located in the Western District of New York,
as “fronts” for the transfer of the contraband cigarettes among and
between the defendants, to avoid payment of applicable New York and
Michigan excise taxes, circumvent the Federal clgarette reporting

requirements, and avoid the scrutiny of law enforcement officials.

d) The defendants and others illegally shipped,
transported, received, possessed, purchased, sold, and distributed
contraband cigarettes from within the Western District of New York,

to the State of Michigan, and elsewhere.

e) The defendants and others filed and caused to he
filed with the New York State Department of Taxation Forms CG6
Which contained false and misleading information, failed to
maintain accurate information relating to the true recipients of
the contraband cigarettes as required by Federal law, and failed to
notify the State of Michigan of the identities of the defendants

receiving the contraband cigarettes.
f) The defendants and others utilized and recruited
additional conspirators to ship, transport, receive, possess,

purchase, sell, and distribute the contraband cigarettes.

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g) The defendants and cthers engaged in acts and threats
ef violence, to include armed hijacking of rival cigarette

smugglers.

h) The defendants and others provided false and
misheading testimony and information to the Grand Jury and to law
enforcement officials investigating the money laundering and

cigarette smuggling scheme described herein,

1) The defendants and others concealed the sales of
contraband cigarettes through the preparation of false and

misleading records and documents.

j) The defendants and others laundered the proceeds of
all of the above illegal activities in various domestic and foreign
financial institutions, and engaged in further financial
transactions with the illegal proceeds, to purchase additional
contraband Cigarettes, conceal profits from the illegal scheme, and

thwart the serutiny of law enforcement officials.

THE SPECIFIED UNLAWFUL ACTIVITIES

21. The financial transactions that the defendants and
others, agreed to conduct and attempted to conduct, involved the

proceeds of the following specified unlawful activities, any one of

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which alone constitutes a specified unlawful activity as defined in

Title 18, United States Code, § 1956{c) (7):

a) Wire fraud, in violation of 18 U.S.C. § 1343 and
18 U.S.C. $ 2, in that, in the Western District of New York and
elsewhere, the defendants and others, having devised and intending
to devise a scheme and artifice to defraud the States of New York
and Michigan of cigarette excise tax revenues, and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, on numerous occasions transmitted
and caused to be transmitted by means of wire communications in
interstate commerce, that is, from points outside the State of New
York to places within the Western District of New York, and from
points within the Western District of New York to places outside
the State of New York, writings, signs, signals, pictures and
sounds for the purpose of executing such scheme and artifice, and
the defendants did aid and abet others in conducting this illegal

activity.

Bb) Contraband cigarette smuggling, in violation of
18 U.S.C. §$ 2342(a) and 18 U.S.C, § 2, in that, in the Western
District of New York and elsewhere, the defendants and others, on
numerous occasions did unlawfully and knowingly ship, transport,

receive, possess, sell, distribute and purchase contraband

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cigarettes, and the defendants did aid and abet others in

conducting this illegal activity.

c} Contraband cigarette smuggling, in violation of
18 U.S.C. § 2342(b) and 18 U.S.C. § 2, in that, in the Western
District of New York and elsewhere, the defendants and others, on
numerous occasions did unlawfully and knowingly make and cause to
be made, false statements and representations with respect to the
information required by Title 18, United States Code, Sections 2341
through 2344, to be kept in the records of any persan who ships,
sells and distributes any quantity of cigarettes in excess of
60,000 in a single transaction, and the defendants did aid and abet

others in conducting this illegal activity.

d) Mail fraud, in violation of 14 U.S.C. § 1341 and
18 U.S.C. § 2, in that, in the Western District of New York and
elsewhere, the defendants and others, having devised and intending
to devise a scheme and artifice to defraud the States of New York
and Michigan of cigarette excise taxes, and for obtaining money and
property by means of false and fraudulent pretenses,
representations, and promises, for the purpose of executing such
scheme and artifice, and attempting so to do, on numerous occasions
placed, and caused to be placed in a post office and authorized

depository for mail matter, New York Forms CG6, which New York

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Forms CG6 were thereafter fo be sent and delivered by the Postal

service according to the directions thereon,

MANNER AND MEANS

During the aforesaid period, the object and Purpose of the
conspiracy was furthered by the defendants through the following

Manner and means, among others:

22. On numerous occasions, defendants MOHAMED KAID, ALI KAID,
MOHAMED ABUHAMRA, ALI ABUHAMRA, HUMAISAN, ALAWI, SALEH ABDULLAH,
ALI ABUHAMRA, JR., AWEDI, HAMDAN, BERRO, BARNETT, HAYDOUS,
ALMOZAHMI, ALHAJAJI, AL-FIASALY, NASIR, ALSHUBILI, AHMED, MIKHA,
DANIEL, NABIL ABDULLAH, MOHAMED ABDULLAH, ODEFA, RMZY ABDULLAH,
NAGIB AZIZ, ALJEMAN, FNU AZIZ, and others, ordered numerous
quantities of contraband cigarettes to be delivered by defendant
A.D. BEDELL COMPANY, INC. and others, to a Native American smoke

shop located on the Cattaraugus and Salamanca Indian reservation.

23. On numerous occasions, defendants MARTIN, EMKE, SNYDER,
and A.D. BEDFLL COMPANY, INC., and others, shipped, transported,
distributed and Caused to be shipped, transported and distributed,
numerous shipments of contraband cigarettes to a Native American
smoke shop located on the Cattaraugus and Salamanca Indian

reservation, well knowing that the cigarettes were to be thereafter

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